                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 1 of 66



            1      AMERICAN CIVIL LIBERTIES UNION                         COOLEY LLP
                   FOUNDATION OF NORTHERN CALIFORNIA                      MARTIN S. SCHENKER (SBN 109828)
            2      JULIA HARUMI MASS (SBN 189649)                         NATHANIEL R. COOPER (SBN 262098)
                   WILLIAM S. FREEMAN (SBN 82002)                         ASHLEY K. CORKERY (SBN 301380)
            3      39 Drumm Street                                        TREVOR M. KEMPNER (SBN 310853)
                   San Francisco, CA 94111                                101 California Street, 5th Floor
            4      Telephone: (415) 621-2493                              San Francisco, CA 94111
                   Facsimile: (415) 255-8437                              Telephone: (415) 693-2000
            5      Email: jmass@aclunc.org                                Facsimile: (415) 693-2222
                           wfreeman@aclunc.org                            Email: mschenker@cooley.com
            6                                                             ncooper@cooley.com
                                                                          acorkery@cooley.com
            7                                                             tkempner@cooley.com

            8      ACLU FOUNDATION                                        ACLU FOUNDATION
                   IMMIGRANTS’ RIGHTS PROJECT                             IMMIGRANTS’ RIGHTS PROJECT
            9      JUDY RABINOVITZ (pro hac vice)                         STEPHEN B. KANG (SBN 292280)
                   125 Broad Street, 18th Floor                           39 Drumm Street
          10       New York, NY 10004                                     San Francisco, CA 94111
                   Telephone: (212) 549-2660                              Telephone: (415) 343-0770
          11       Facsimile: (212) 549-2654                              Facsimile: (212) 395-0950
                   E-mail: jrabinovitz@aclu.org                           E-mail: skang@aclu.org
          12
                   Attorneys for Petitioners/Plaintiffs
          13

          14                                         UNITED STATES DISTRICT COURT

          15                                        NORTHERN DISTRICT OF CALIFORNIA

          16

          17       Lorenza Gomez, as next friend for J.G., a           Case No. 3:17-cv-03615-VC
                   minor, and on her own behalf, et al.,
          18                                                           PLAINTIFFS’ CONSOLIDATED
                                                                       MEMORANDUM:
                                Petitioners/Plaintiffs, on behalf of
          19
                                themselves individually and others        (1) IN OPPOSITION TO DEFENDANTS’
          20                    similarly situated,                       MOTIONS TO DISMISS;
                                                                          (2) IN SUPPORT OF MOTION FOR
          21               v.                                             PRELIMINARY INJUNCTION; AND
                                                                          (3) IN SUPPORT OF MOTION FOR
          22       Jefferson B. Sessions, et al.,                         PROVISIONAL CLASS CERTIFICATION

          23                    Respondents/Defendants.                Date:        October 26, 2017
                                                                       Time:        10:00 a.m.
          24                                                           Location:    Courtroom #4
                                                                       Judge:       Hon. Vince Chhabria
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                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
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ATTORNEYS AT LAW                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
 SAN FRANCISCO                                                                            CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 2 of 66



            1                                                         TABLE OF CONTENTS
            2                                                                                                                                            Page
            3      I.       INTRODUCTION AND SUMMARY OF ARGUMENT ...................................................... 1
                   II.      RELEVANT BACKGROUND ............................................................................................... 2
            4
                            A.   Statutory Framework ................................................................................................... 2
            5               B.   Facts Relevant to the Pending Motions ....................................................................... 4
            6                    1.      Facts Relating to J.G ........................................................................................ 5
                                 2.      Facts Relating to A.H ....................................................................................... 7
            7
                                 3.      Facts Relating to F.E ........................................................................................ 8
            8                    4.      The Named Children’s Experiences Are Typical of a Broader Class of
                                         Sponsored UCs with Gang Allegations ......................................................... 10
            9
                   III.     DEFENDANTS’ MOTION TO DISMISS SHOULD BE DENIED ..................................... 11
          10                A.   Standard of Review .................................................................................................... 11
          11                B.   This Court Retains Jurisdiction and Venue Over Plaintiffs’ Claims ......................... 12
                                 1.      This Court Retains Habeas Jurisdiction ......................................................... 12
          12
                                 2.      Venue Remains Proper in the Northern District ............................................ 15
          13                     3.      Plaintiffs’ Claims Against Cardall and Esquivel Are Well Founded ............ 18
          14                C.   Plaintiffs Have Stated Claims for Relief .................................................................... 19
                                 1.      Claim 1 – Unlawful Arrest ............................................................................. 19
          15
                                 2.      Claim 2 – Procedural Due Process................................................................. 22
          16                     3.      Claim 3 – Excessive Restraint of Liberty ...................................................... 26
          17                     4.      Claim 4 – Violations of the Flores Decree .................................................... 27
                                 5.      Claim 6 – Unlawful Denial of Benefits ......................................................... 28
          18
                   IV.      THE COURT SHOULD PRELIMINARILY ENJOIN DEFENDANTS’
          19                UNCONSTITUTIONAL AND UNLAWFUL POLICIES AND PRACTICES ................... 30
                            A.   Plaintiffs Are Likely to Succeed on the Merits of Their Claims ............................... 31
          20
                                 1.      Claim 1 – Unlawful Arrest ............................................................................. 31
          21                     2.      Claim 2 – Deprivation of Liberty without Due Process ................................ 33
          22                     3.      Claims 3 and 4 – Excessive Restraint on Liberty/Flores Violations ............. 39
                            B.   The Named Children Will Suffer Irreparable Harm in the Absence of an
          23                     Injunction ................................................................................................................... 40
          24                C.   The Equities Tip Sharply in Favor of the Requested Injunction ............................... 41
                            D.   The Requested Injunction Is in the Public Interest .................................................... 42
          25
                   V.       THE COURT SHOULD PROVISIONALLY CERTIFY THE PROPOSED CLASS
          26                AND ENJOIN DEFENDANTS’ UNLAWFUL POLICIES AND PRACTICES AS
                            TO ALL CLASS MEMBERS ............................................................................................... 42
          27                A.   The Proposed Class Meets the Requirements of Rule 23(a)(1)-(4) ........................... 43
          28                     1.      Numerosity ..................................................................................................... 43
  COOLEY LLP
                                                                                                                   PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       i.
 SAN FRANCISCO                                                                                                          CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 3 of 66



            1                                                        TABLE OF CONTENTS
                                                                         (continued)
            2                                                                                                                                          Page
            3                  2.     Commonality.................................................................................................. 45
                               3.     Typicality ....................................................................................................... 46
            4
                               4.     Adequacy of Representation .......................................................................... 47
            5              B.  The Proposed Class Meets the Requirements of Rule 23(b)(2) ................................. 48
            6      VI.     CONCLUSION ...................................................................................................................... 50

            7

            8

            9

          10

          11

          12

          13

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          28
  COOLEY LLP
                                                                                                                 PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                    ii.
 SAN FRANCISCO                                                                                                        CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 4 of 66



            1                                                        TABLE OF AUTHORITIES
            2                                                                                                                                            Page
            3      Cases
            4      Abdullah v. U.S. Sec. Assocs., Inc.,
                      731 F.3d 952 (9th Cir. 2013) ...................................................................................................45, 46
            5

            6      U.S. ex rel. Accardi v. Shaughnessy,
                      347 U.S. 260 (1954) .......................................................................................................................28
            7
                   Ahmed v. Shockley,
            8         No. 09-cv-1742, 2009 WL 2588550 (D.Md. Aug. 19, 2009) ........................................................14

            9      Al-Amin v. Davis,
                      No. 12-cv-1197, 2012 WL 1698175 (D. Colo. May 15, 2012) .....................................................13
          10
                   Alexander v. Sandoval,
          11
                      532 U.S. 275 (2001) .......................................................................................................................20
          12
                   All. for the Wild Rockies v. Cottrell,
          13           632 F.3d 1127 (9th Cir. 2011) .......................................................................................................31

          14       Amoco Prod. Co. v. Vill. of Gambell,
                     480 U.S. 531 (1987) .......................................................................................................................41
          15
                   Angov v. Lynch,
          16          788 F.3d 893 (9th Cir. 2015) .........................................................................................................24
          17
                   Arc of Cal. v. Douglas,
          18          757 F.3d 975 (9th Cir. 2014) .............................................................................................30, 31, 41

          19       Armentero v. INS,
                      340 F.3d 1058 (9th Cir. 2003) .......................................................................................................14
          20
                   Armentero v. INS,
          21          412 F.3d 1088 (9th Cir. 2005) .......................................................................................................13
          22
                   Armstrong v. Davis,
          23          275 F.3d 849 (9th Cir. 2001) ...................................................................................................45, 46

          24       Armstrong v. Exceptional Child Ctr., Inc.,
                      135 S. Ct. 1378 (2015) ...................................................................................................................20
          25
                   Ashcroft v. Iqbal,
          26          556 U.S. 662 (2009) .......................................................................................................................12
          27       Baharona-Gomez v. Reno,
          28          167 F.3d 1228 (9th Cir.1999) ........................................................................................................42
  COOLEY LLP
                                                                                                                    PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                      iii.
 SAN FRANCISCO                                                                                                           CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 5 of 66



            1                                                         TABLE OF AUTHORITIES
                                                                            (continued)
            2                                                                                                                                               Page
            3      Beazer E., Inc. v. U.S. EPA., Region III,
                      No. 90-cv-2753, 1990 WL 109892 (E.D.Pa. July 30, 1990) .........................................................16
            4
                   Bell Atl. Corp. v. Twombly,
            5
                       550 U.S. 544 (2007) .......................................................................................................................12
            6
                   Bell v. City of Boise,
            7          709 F.3d 890 (9th Cir. 2013) .........................................................................................................18

            8      Beltran v. Cardall,
                       222 F. Supp. 3d 476 (E.D. Va. 2016) .................................................................................... passim
            9
                   Benitez Ramos v. Holder,
          10          589 F.3d 426 (7th Cir. 2009) .........................................................................................................35
          11
                   U.S. ex rel. Bilokumsky v. Tod,
          12          263 U.S. 149 (1923) .......................................................................................................................19

          13       Blaisdell v. Frappiea,
                      729 F.3d 1237 (9th Cir. 2013) .......................................................................................................29
          14
                   Bogarin-Flores v. Napolitano,
          15          No. 12-cv-0399, 2012 WL 3283287 (S.D. Cal. Aug. 10, 2012) ....................................................14
          16       Ex Parte Bollman,
          17          8 U.S. 75 (1807) .............................................................................................................................19

          18       Brantley v. Maxwell-Jolly,
                      656 F. Supp. 2d 1161 (N.D. Cal. 2009) .........................................................................................43
          19
                   Bresgal v. Brock,
          20          843 F.2d 1163 (9th Cir. 1987) .......................................................................................................43
          21       Bunikyte ex rel. Bunikiene v. Chertoff,
          22          No. 07-cv-0164, 2007 WL 1074070 (W.D. Tex. Apr. 9, 2007) ....................................................27

          23       Ex Parte Burford,
                      7 U.S. 448 (1806) ...........................................................................................................................19
          24
                   Camara v. Mun. Ct.,
          25         387 U.S. 523 (1967) .......................................................................................................................32
          26       Campbell v. Ganter,
                     353 F. Supp. 2d 332 (E.D.N.Y. 2004) ...........................................................................................14
          27

          28
  COOLEY LLP
                                                                                                                      PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                        iv.
 SAN FRANCISCO                                                                                                             CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 6 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                            Page
            3      Carballo v. LaManna,
                      No. 05-cv-3276, 2006 WL 3230761 (D.S.C. Nov. 6, 2006) ..........................................................13
            4
                   Carlson v. Landon,
            5
                      342 U.S. 524 (1952) .......................................................................................................................19
            6
                   Carrillo v. Schneider Logistics, Inc.,
            7         No. 11-cv-8557, 2012 WL 556309 (C.D. Cal. Jan. 31, 2012) .......................................................42

            8      Castro v. Dep’t of Homeland Sec.,
                      835 F.3d 422 (3d Cir. 2016)...........................................................................................................25
            9
                   Chalk v. U.S. Dist. Ct.,
          10          840 F.2d 701 (9th Cir. 1988) .........................................................................................................41
          11
                   Chehazeh v. Att’y Gen.,
          12          666 F.3d 118 (3d Cir. 2012)...........................................................................................................15

          13       City of Chicago v. Morales,
                       527 U.S. 41 (1999) ...................................................................................................................33, 35
          14
                   Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Trust,
          15          317 F.R.D. 91 (N.D. Cal. 2016) .....................................................................................................43
          16       Clark v. Martinez,
          17          543 U.S. 371 (2005) .......................................................................................................................25

          18       Decker Coal Co. v. Commonwealth Edison Co.,
                      805 F.2d 834 (9th Cir.1986) ..........................................................................................................17
          19
                   Demery v. Arpaio,
          20         37 F.3d 1020 (9th Cir. 2004) .........................................................................................................18
          21       Demjanjuk v. Meese,
          22         784 F.2d 1114 (D.C. Cir. 1986) .....................................................................................................15

          23       Dielmann v. INS,
                      34 F.3d 851 (9th Cir. 1994) ...........................................................................................................30
          24
                   Dreier v. United States,
          25          106 F.3d 844 (9th Cir. 1997) .........................................................................................................12
          26       EasyRiders Freedom FIGHT v. Hannigan,
                      92 F.3d 1486 (9th Cir. 1996) .........................................................................................................43
          27

          28
  COOLEY LLP
                                                                                                                    PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       v.
 SAN FRANCISCO                                                                                                           CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 7 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                            Page
            3      Elrod v. Burns,
                      427 U.S. 347 (1976) .......................................................................................................................40
            4
                   First of Mich. Corp. v. Bramlet,
            5
                       141 F.3d 260 (6th Cir. 1998) ................................................................................................. passim
            6
                   Flores v. Lynch,
            7         828 F.3d 898 (9th Cir. 2016) .........................................................................................................27

            8      Flores v. Sessions,
                      862 F.3d 863 (9th Cir. 2017) ................................................................................................. passim
            9
                   Flores-Chavez v. Ashcroft,
          10          362 F.3d 1150 (9th Cir. 2004) .......................................................................................................37
          11
                   Francis v. Rison,
          12          894 F.2d 353 (9th Cir. 1990) .........................................................................................................15

          13       Friedl v. City of N.Y.,
                       210 F.3d 79 (2d. Cir. 2000)............................................................................................................28
          14
                   Garcia v. Holder,
          15          659 F.3d 1261 (9th Cir. 2011) .......................................................................................................30
          16       Gerstein v. Pugh,
          17          420 U.S. 103 (1975) .......................................................................................................................19

          18       Goldberg v. Kelly,
                      397 U.S. 254 (1970) .......................................................................................................................29
          19
                   Gonzalez v. Immigration & Customs Enf’t,
          20          No. 13-cv-4416, 2014 WL 12605368 (C.D. Cal. July 28, 2014)...................................................19
          21       Graham v. Connor,
          22          490 U.S. 386 (1989) .......................................................................................................................32

          23       Grant v. City of Long Beach,
                      315 F.3d 1081 (9th Cir. 2002) .......................................................................................................32
          24
                   Griffeth v. Detrich,
          25          603 F.2d 118 (9th Cir. 1979) .........................................................................................................28
          26       Gutierrez-Chavez v. INS,
                      337 F. 3rd 1023, (9th Cir. 2003) ....................................................................................................28
          27

          28
  COOLEY LLP
                                                                                                                    PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       vi.
 SAN FRANCISCO                                                                                                           CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 8 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                             Page
            3      Hanlon v. Chrysler Corp.,
                      150 F.3d 1011 (9th Cir. 1998) .................................................................................................46, 47
            4
                   Hernandez v. Lynch,
            5
                      No. 16-cv-00620, 2016 WL 7116611 (C.D. Cal. Nov. 10, 2016) .................................................15
            6
                   Holder v. Curley,
            7         749 F. Supp. 2d 644 (E.D. Mich. 2010).........................................................................................13

            8      Hum v. Dericks,
                     162 F.R.D. 628 (D. Haw. 1995) .....................................................................................................43
            9
                   J.D.B. v. N.C.,
          10          564 U.S. 261 (2011) .......................................................................................................................25
          11
                   Jarpa v. Mumford,
          12          211 F. Supp. 3d 706 (D.Md. 2016) ................................................................................................14

          13       Johnson v. Eisentrager,
                      339 U.S. 763 (1950) .......................................................................................................................24
          14
                   Jones v. Blanas,
          15          393 F.3d 918 (9th Cir. 2004) ...................................................................................................26, 39
          16       Kings Cty. Econ. Cmty. Dev. Ass’n v. Hardin,
          17          333 F. Supp. 1302 (N.D. Cal. 1971) ..............................................................................................16

          18       U.S. ex rel. Knauff v. Shaughnessy,
                      338 U.S. 537 (1950) .......................................................................................................................30
          19
                   Kumar v. Gonzalez,
          20         No. 06-cv-1805, 2007 WL 174089 (W.D. Wash. Jan. 17, 2007) ..................................................30
          21       Kwai Fun Wong v. United States,
          22         373 F.3d 952 (9th Cir. 2004) .........................................................................................................24

          23       LaDuke v. Nelson,
                      762 F.2d 1318 (9th Cir. 1985) .......................................................................................................20
          24
                   Lamont v. Haig,
          25          590 F.2d 1124 (D.C. Cir. 1978) .....................................................................................................16
          26       Landon v. Plasencia,
                      459 U.S. 21 (1982) .........................................................................................................................24
          27

          28
  COOLEY LLP
                                                                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       vii.
 SAN FRANCISCO                                                                                                            CASE NO. 3:17-CV-03615-VC
                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 9 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                             Page
            3      Larson v. Domestic & Foreign Commerce Corp.,
                      337 U.S. 682 (1949) .......................................................................................................................15
            4
                   Lassiter v. Dep’t of Soc. Servs. of Durham Cty.,
            5
                      452 U.S. 18 (1981) ...................................................................................................................23, 34
            6
                   Leite v. Crane Co.,
            7          749 F.3d 1117 (9th Cir. 2014) .......................................................................................................12

            8      Lynch v. Cannatella,
                      810 F.2d 1363 (5th Cir. 1987) .......................................................................................................25
            9
                   Mallette v. Arlington Cty. Emps.’ Suppl. Ret. Sys. II,
          10          91 F.3d 630 (4th Cir. 1996) ...........................................................................................................28
          11
                   Mathews v. Diaz,
          12          426 U.S. 67 (1976) .........................................................................................................................25

          13       Mathews v. Eldridge,
                      424 U.S. 319 (1976) ...........................................................................................................22, 33, 36
          14
                   McCluskey v. Tr. of Red Dot Corp. Emp. Stock Ownership Plan & Trust,
          15         268 F.R.D. 670 (W.D. Wash. 2010) ..............................................................................................45
          16       Medina v. U.S. Dep’t of Homeland Sec.,
          17         No. 17-cv-0218, 2017 WL 1101370 (W.D. Wash. Mar. 24, 2017) ...............................................19

          18       Melendres v. Arpaio,
                      695 F.3d 990 (9th Cir. 2012) ...................................................................................................40, 42
          19
                   Meyer v. Portfolio Recovery Assocs., LLC,
          20          707 F.3d 1036 (9th Cir. 2012) .......................................................................................................42
          21       Milliken & Co. v. FTC,
          22          565 F. Supp. 511 (D.S.C. 1983).....................................................................................................16

          23       Murphy v. Schneider Nat’l, Inc.,
                     362 F.3d 1133 (9th Cir. 2004) .......................................................................................................12
          24
                   Nadarajah v. Gonzales,
          25          443 F.3d 1069 (9th Cir. 2006) .......................................................................................................25
          26       Nestor v. Hershey,
                      425 F.2d 504 (D.C. Cir. 1969) .......................................................................................................16
          27

          28
  COOLEY LLP
                                                                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                      viii.
 SAN FRANCISCO                                                                                                            CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 10 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                            Page
            3      Nguyen Da Yen v. Kissinger,
                      528 F.2d 1194 (9th Cir. 1975) .......................................................................................................15
            4
                   OSU Student All. v. Ray,
            5
                     699 F.3d 1053 (9th Cir. 2012) .................................................................................................12, 25
            6
                   Owino v. Holder,
            7        771 F.3d 527 (9th Cir. 2014) .........................................................................................................27

            8      Parsons v. Ryan,
                      754 F.3d 657 (9th Cir. 2014) ...................................................................................................47, 49
            9
                   People v. Englebrecht,
          10          88 Cal. App. 4th 1236 (2001) ........................................................................................................35
          11
                   Perez-Olano v. Gonzalez,
          12          248 F.R.D. 248 (C.D. Cal. 2008) .............................................................................................46, 48

          13       Rapheal v. Mukasey,
                      533 F.3d 521 (7th Cir. 2008) .........................................................................................................29
          14
                   Remmie v. Mabus,
          15          898 F. Supp. 2d 108 (D.C. Cir. 2012) ............................................................................................30
          16       Reno v. Flores,
          17          507 U.S. 292 (1993) ...........................................................................................................22, 26, 33

          18       Reuben H. Donnelly Corp. v. FTC,
                      580 F.2d 264 (7th Cir. 1978) .........................................................................................................16
          19
                   Riley v. California,
          20           134 S.Ct. 2473 (2014) ....................................................................................................................32
          21       Rivera v. Holder,
          22          307 F. R.D. 539 (W.D. Wash. 2015) .............................................................................................49

          23       Rodriguez v. Hayes,
                      591 F.3d 1105 (9th Cir. 2010) ............................................................................................... passim
          24
                   Rodriguez v. Nike Retail Servs., Inc.,
          25          No. 14-cv-1508, 2016 WL 8729923 (N.D. Cal. Aug. 19, 2016) ...................................................45
          26       Rodriguez v. Robbins,
                      715 F.3d 1127 (9th Cir. 2013) .................................................................................................41, 42
          27

          28
  COOLEY LLP
                                                                                                                    PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       ix.
 SAN FRANCISCO                                                                                                           CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 11 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                            Page
            3      Roman v. Ashcroft,
                      340 F.3d 314 (6th Cir. 2003) .........................................................................................................14
            4
                   Rosales-Garcia v. Holland,
            5
                      322 F. 3d 386 (6th Cir. 2003) ........................................................................................................24
            6
                   Rubinstein v. Brownell,
            7         206 F.2d 449 (D.C. Cir. 1953) .......................................................................................................21

            8      Rumsfeld v. Padilla,
                      542 U.S. 426 (2004) .......................................................................................................................13
            9
                   Safe Air for Everyone v. Meyer,
          10          373 F.3d 1035 (9th Cir. 2004) .......................................................................................................11
          11
                   Sammartano v. First Judicial District Court,
          12          303 F.3d 959 (9th Cir. 2002) .........................................................................................................42

          13       Sanchez-Penunuri v. Longshore,
                      7 F. Supp. 3d 1136 (D. Colo. 2013) ...............................................................................................14
          14
                   Santos v. Smith,
          15          No. 17-cv-0020, 2017 WL 2389722 (W.D. Va. June 1, 2017) .............................................. passim
          16       Santosky v. Kramer,
          17          455 U.S. 745 (1982) .......................................................................................................................38

          18       Scales v. United States,
                      367 U.S. 203 (1961) .......................................................................................................................35
          19
                   Schall v. Martin,
          20          467 U.S. 253 (1984) .....................................................................................................23, 36, 39, 40
          21       Sears Sav. Bank v. Fed. Sav. & Loan Ins. Co.,
          22          775 F.2d 1028 (9th Cir. 1985) .......................................................................................................30

          23       Shaughnessy v. United States ex rel. Mezei,
                      345 U.S. 206 (1953) .......................................................................................................................24
          24
                   Sidney Coal Co., Inc. v. Soc. Sec. Admin.,
          25          427 F.3d 336 (6th Cir. 2005) .........................................................................................................16
          26       Silva v. Di Vittorio,
                       658 F.3d 1090 (9th Cir. 2011) .......................................................................................................28
          27

          28
  COOLEY LLP
                                                                                                                    PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       x.
 SAN FRANCISCO                                                                                                           CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 12 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                             Page
            3      Smith v. Heckler,
                      595 F. Supp. 1173 (E.D. Cal. 1984)...............................................................................................43
            4
                   Sonoma Cty. Comm. for Immigrant Rights v. Cty. of Sonoma,
            5
                      644 F. Supp. 2d 1177 (N.D. Cal. 2009) .........................................................................................20
            6
                   Stafford v. Briggs,
            7          444 U.S. 527 (1980) .......................................................................................................................16

            8      State v. O.C.,
                       748 So. 2d 945 (Fla. 1999).............................................................................................................35
            9
                   Sueoka v. United States,
          10          101 Fed. Appx. 649 (9th Cir. 2004) ...............................................................................................43
          11
                   Sweet v. Pfizer,
          12          232 F.R.D. 360 (C.D. Cal. 2005) ...................................................................................................46

          13       Torres v. City of L.A.,
                      548 F.3d 1197 (9th Cir. 2008) .......................................................................................................33
          14
                   Touche Ross & Co. v. Redington,
          15          442 U.S. 560 (1979) .......................................................................................................................20
          16       United States v. Bogle,
          17          855 F.2d 707 (11th Cir. 1988) .......................................................................................................41

          18       United States v. Holmes,
                      452 F.2d 249 (7th Cir. 1971) ...................................................................................................21, 32
          19
                   United States v. Kirkley,
          20          No. 11-cv-10097, 2011 WL 3880908 (D. Kan. Sept. 1, 2011) ......................................................21
          21       United States v. Kordosky,
          22          No. 88-cr-0052, 1988 WL 238041 (W.D. Wis. Sept. 12, 1988) ....................................................21

          23       United States v. Peralta-Sanchez,
                      847 F.3d 1124 (9th Cir. 2017) .......................................................................................................24
          24
                   United States v. Raya-Vaca,
          25          771 F.3d 1195 (9th Cir. 2014) .......................................................................................................25
          26       United States v. Verdugo–Urquidez,
                      494 U.S. 259 (1990) .......................................................................................................................24
          27

          28
  COOLEY LLP
                                                                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       xi.
 SAN FRANCISCO                                                                                                            CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 13 of 66



            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                              Page
            3      United States v. Weil,
                      432 F.2d 1320 (9th Cir. 1970) .......................................................................................................21
            4
                   Vazquez v. Rackauckas,
            5
                      734 F.3d 1025 (9th Cir. 2013) .......................................................................................................35
            6
                   Vinieratos v. U.S. Dep’t of Air Force,
            7         939 F.2d 762 (9th Cir. 1991) .........................................................................................................20

            8      Von Colln v. Cty. of Ventura,
                      189 F.R.D. 583 (C.D. Cal. 1999) ...................................................................................................44
            9
                   Wade v. Kirkland,
          10         118 F.3d 667 (9th Cir. 1997) .........................................................................................................18
          11
                   Walters v. Reno,
          12          145 F.3d 1032 (9th Cir. 1998) .................................................................................................46, 48

          13       Warsoldier v. Woodford,
                     418 F.3d 989 (9th Cir. 2005) .........................................................................................................40
          14
                   Williams v. Miller-Stout,
          15          No. 05-cv-0864-ID, 2006 WL 3147667 (M.D. Ala. Nov. 2, 2006) ...............................................13
          16       Winter v. Nat’l Res. Def. Council, Inc.,
          17          555 U.S. 7 (2008) ...........................................................................................................................30

          18       Ex Parte Young,
                      209 U.S. 123 (1908) .......................................................................................................................15
          19
                   Zabadi v. Chertoff,
          20          No. 05-cv-1796, 2005 WL 1514122 (N.D. Cal. June 17, 2005) ....................................................14
          21       Zadvydas v. Davis,
          22          533 U.S. 678 (2001) .................................................................................................................24, 37

          23       Zevallos v. Obama,
                      10 F. Supp. 3d 111 (D.D.C. 2014) .................................................................................................30
          24
                   Zinermon v. Burch,
          25          494 U.S. 113 (1990) .................................................................................................................36, 37
          26

          27

          28
  COOLEY LLP
                                                                                                                     PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                       xii.
 SAN FRANCISCO                                                                                                            CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 14 of 66



            1                                                           TABLE OF AUTHORITIES
                                                                              (continued)
            2                                                                                                                                                     Page
            3      Statutes
            4      5 U.S.C.
                      § 701...............................................................................................................................................28
            5
                      § 706.........................................................................................................................................28, 30
            6
                   6 U.S.C. § 279(g)(2) ............................................................................................................................25
            7
                   8 U.S.C.
            8         § 1101(a)(27)(J) .............................................................................................................................29
                      § 1101(a)(48)(A) ............................................................................................................................40
            9         § 1226(a) ........................................................................................................................................20
                      § 1232(c)(2) ...................................................................................................................................25
          10
                      § 1232(c)(2)(A) ..............................................................................................................3, 21, 26, 39
          11          § 1232(c)(3) .......................................................................................................................24, 25, 38
                      § 1232(c)(3)(A) ................................................................................................................................3
          12          § 1252(f)(1) ....................................................................................................................................20
          13       18 U.S.C. § 521(d) ...............................................................................................................................33
          14       28 U.S.C.
                      § 1331.......................................................................................................................................15, 19
          15
                      § 1391.......................................................................................................................................15, 16
          16          § 1391(b)(1) ...................................................................................................................................18
                      § 1391(e) ..................................................................................................................................16, 17
          17          § 1391(e)(1)(A) ........................................................................................................................15, 16
                      § 1391(e)(1)(B) ........................................................................................................................15, 17
          18          § 2241(c)(3) .............................................................................................................................20, 28
          19
                   Alaska Stat. Ann. § 47.10.142(c)-(d) ...................................................................................................37
          20
                   Ariz. Rev. Stat. Ann.
          21          § 8-823(A)-(B) ...............................................................................................................................37
                      § 8-824 ...........................................................................................................................................37
          22          § 315...............................................................................................................................................37
          23       Cal. Welf. & Inst. Code § 307.4 ..........................................................................................................37
          24       N.Y. Crim. Proc. Law
          25          § 170.55(8) ...............................................................................................................................39, 40
                      § 170.56(4) .....................................................................................................................................40
          26
                   Nev. Rev. Stat. Ann. § 432B.470(1)-(3) ..............................................................................................37
          27

          28
  COOLEY LLP
                                                                                                                          PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                          xiii.
 SAN FRANCISCO                                                                                                                 CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 15 of 66



            1                                                          TABLE OF AUTHORITIES
                                                                             (continued)
            2                                                                                                                                                  Page
            3      Wash. Rev. Code Ann.
                     § 13.34.062.....................................................................................................................................37
            4        § 13.34.065(1)(a) ...........................................................................................................................37
            5
                   Other Authorities
            6
                   8 C.F.R. § 204.11 .................................................................................................................................29
            7
                   Chemerinsky, Federal Jurisdiction § 9.1 (4th ed. 2003) ......................................................................15
            8
                   Federal Rules of Civil Procedure
            9         Rule 12(b)(1)..................................................................................................................................11
                      Rule 12(b)(3)..................................................................................................................................12
          10          Rule 12(b)(6)............................................................................................................................11, 12
          11          Rule 23 .....................................................................................................................................42, 43
                      Rule 23(a).................................................................................................................................42, 48
          12          Rule 23(a)(1) ............................................................................................................................43, 45
                      Rule 23(a)(2) ............................................................................................................................45, 46
          13          Rule 23(a)(3) ..................................................................................................................................46
                      Rule 23(a)(4) ..................................................................................................................................47
          14          Rule 23(b)(2)......................................................................................................................42, 48, 49
          15
                   14D Wright & Miller, Fed. Prac. & Proc. § 3815 (4th ed. 2017) ..................................................16, 18
          16
                   7A Wright, Miller & Kane, Fed.l Prac. & Proc. § 1763 (3d ed. 2017) ................................................45
          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
  COOLEY LLP
                                                                                                                        PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                                                        xiv.
 SAN FRANCISCO                                                                                                               CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 16 of 66



            1      I.     INTRODUCTION AND SUMMARY OF ARGUMENT

            2             Plaintiffs seek judicial intervention to protect the liberty interests of children who have been

            3      arrested and detained for months without any opportunity to review or respond to charges or evidence

            4      the federal Defendants (the “Government”) rely on to justify their confinement. These children came

            5      to the United States for liberty, safety, and reunification with family members, and were placed in

            6      their parents’ care by the Office of Refugee Resettlement (“ORR”), as required by statute. Immigration

            7      and Customs Enforcement (“ICE”) has recently re-arrested them, inaccurately claiming that Plaintiffs

            8      were “self-admitted” gang members and, citing a “new policy,” demanding that they be placed in

            9      secure custody. Without notice to their sponsors or counsel, without providing any opportunity for the

          10       youth or their parents to respond, and with no independent review of the charges, ORR acceded to

          11       ICE’s demands and placed the children in jail-like conditions far from home. Plaintiffs remain in

          12       custody, yet have received no evidence that supports the Government’s opinion that they are gang

          13       members, nor any opportunity to contest the allegations. In fact, a defendant in this case has admitted

          14       that the Yolo County Juvenile Detention Facility (“Yolo”)—which runs a secure detention facility

          15       ORR uses to detain noncitizen juveniles—could not verify gang affiliations for most of the youth

          16       whom ORR had recently sent them.

          17              This case was originally brought on behalf of a single child, A.H. At a hearing on A.H.’s

          18       motion for a temporary restraining order, this Court observed that ORR had fallen short of its

          19       obligation to investigate information it had received about A.H. before placing him in secure detention.

          20       The Court stated:

          21              ORR had already screened the child, screened the mother, made a decision that the child could
                          be placed with the mother, and entered into a contract with the mother regarding the care of
          22              the child. [¶] In those circumstances and given that ORR . . . had already engaged in this
                          screening process, it had an obligation to investigate the information it was receiving from
          23              DHS about A.H. . . . ORR had an obligation under the statute . . . to do more, to make sure that
                          the child should be in custody and that . . . being in a secure facility was the least restrictive
          24              setting that is in the best interests of the child.

          25       Tr. 6/29/17, Dkt. 22, at 5:11-6:4. Plaintiffs have discovered that the Government’s unlawful conduct

          26       has extended far beyond A.H.’s individual case. Due to the systemic nature of the Government’s

          27       actions, this case now includes two more juveniles and a proposed class of minors who were similarly

          28       detained by ICE based on unfounded gang allegations, referred by ORR to secure custody, and face
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 SAN FRANCISCO                                                                                CASE NO. 3:17-CV-03615-VC
                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 17 of 66



            1      extended incarceration while awaiting reunification with their families (“Proposed Class”).

            2              Defendants have moved to dismiss this action on procedural grounds, objecting to the propriety

            3      of naming federal defendants, as well as challenging venue. But this Court has rightly concluded it has

            4      habeas jurisdiction over, and is a proper venue for, Plaintiffs’ claims, and Defendants’ contrary

            5      arguments are no more persuasive now than they were before. Indeed, the evidence that Plaintiffs have

            6      uncovered via expedited discovery—particularly regarding Defendant Elicia Smith’s involvement in

            7      Plaintiffs’ custody decisions—confirms that this Court was correct.

            8              Defendants’ arguments in favor of dismissal on the merits are similarly unconvincing. The

            9      Amended Petition (“Petition”) contains numerous and detailed allegations showing that the

          10       Government is systematically violating the constitutional and statutory rights of immigrant children

          11       to be free from unreasonable restrictions on their liberty, as well as depriving them of their statutorily-

          12       granted right to apply for immigration benefits. And while the Government claims that its existing

          13       safeguards are sufficient to protect Plaintiffs’ liberty, both the Petition’s allegations and the evidence

          14       Plaintiffs have discovered, demonstrate that ORR’s existing processes are irretrievably defective in

          15       numerous respects.

          16               In light of Plaintiffs’ indisputably powerful liberty interests, and the ongoing and irreparable

          17       injury they face in federal custody, Plaintiffs are entitled to preliminary injunctive relief and

          18       provisional class certification to enjoin the Government’s unlawful practices. Plaintiffs seek classwide

          19       relief on their claims for unlawful arrest under the Fourth Amendment and the Trafficking Victims

          20       Protection Reauthorization Act of 2013 (the “TVPRA”), as well as their claims for procedural due

          21       process under the Fifth Amendment and the TVPRA. The individual Named Children in this case—

          22       A.H., J.G., and F.E.—also seek immediate release from Government custody and reunification with

          23       their parents, given that they have been kept in detention for months, without anything resembling the

          24       constitutionally and statutorily required procedures to guard against arbitrary restraints on their liberty.

          25       II.     RELEVANT BACKGROUND
          26               A.     Statutory Framework
          27               The TVPRA requires that when an unaccompanied immigrant child (also referred to as a

          28       “UC”) is detained by federal immigration authorities, the child must be transferred to the custody of
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                                                                      2.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 18 of 66



            1      the Secretary of Health and Human Services (“HHS”) within 72 hours; the Secretary must ensure that,

            2      pending any removal proceedings, the child is “promptly placed in the least restrictive setting that is

            3      in the best interest of the child.” 8 U.S.C. § 1232(c)(2)(A). “A child shall not be placed in a secure

            4      facility absent a determination that the child poses a danger to self or others or has been charged with

            5      having committed a criminal offense.” Id. Within HHS, ORR is responsible for the UC’s care.

            6              The TVPRA permits ORR to consider a variety of factors in determining where to place an

            7      unaccompanied minor, including “danger to self, danger to the community, and risk of flight.” 8 U.S.C.

            8      § 1232(c)(2)(A). According to guidelines published on the ORR website under the title “Children

            9      Entering the United States Unaccompanied” (“ORR Rules”), ORR may place a UC in a “secure care

          10       facility” (essentially, a juvenile prison) only if the UC “(1) poses a danger to self or others; or (2) has

          11       been charged with having committed a criminal offense.” Corkery Dec., Ex. A (ORR Rules), § 1.2.4.

          12       ORR cautions that secure detention should not generally be based on crimes that are “isolated offenses

          13       that (1) were not within a pattern or practice of criminal activity and (2) did not involve violence

          14       against a person” or “petty offenses which are not considered grounds for a stricter means of detention

          15       in any case (e.g., shoplifting, joy riding, disturbing the peace).” Id. § 1.2.4 (emphasis added). Less

          16       secure placement options include “staff secure facilities,” long-term foster care, and group homes. Id.

          17       §§ 1.2.4, 1.2.6.

          18               In cases in which the UC has certain characteristics, including a “criminal history” or “gang

          19       involvement,” the “ORR/Intakes Team” uses a “Placement Tool” to generate a score based on

          20       “available information on the [UC’s] history and condition.” Id. § 1.3.2. The Placement Tool

          21       “suggest[s] a level of care for the [UC],” but the Intakes Team “may, in consultation with other staff,

          22       override the score generated by the tool in special circumstances on a case-by-case basis.” Id.

          23       (emphasis added). As required by the TVPRA, many minors are released by ORR to the custody of a

          24       “sponsor”—typically a parent or other close family member—under an agreement pursuant to which

          25       the sponsor agrees to care for the UC (“Sponsored UCs”). 8 U.S.C. § 1232(c)(3)(A).

          26               Minors within the custody of ORR are also protected by the terms of the Flores Decree, a

          27       nationwide consent decree that sets national standards for the detention, release, and treatment of all

          28       immigrant children in Government custody, including the right to review of their custody
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                                                                     3.
 SAN FRANCISCO                                                                                  CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 19 of 66



            1      determinations by an Immigration Judge. See Flores v. Sessions, 862 F.3d 863 (9th Cir. 2017). The

            2      Flores Decree also provides for judicial review of such determinations and any other violations of the

            3      Decree in any United States District Court with jurisdiction and venue over the matter.

            4             B.      Facts Relevant to the Pending Motions
            5             As described below, the evidence shows, in stark detail, how the Government has violated the

            6      constitutional and statutory rights of the Named Children and the Proposed Class.

            7             First: DHS, acting on unsubstantiated allegations by local police officials that a teenager is

            8      gang affiliated, arrests the child on the basis that he is removable, see Nanos Dec., Ex. 5; see also

            9      Loechner Dec., Dkt. 15-1, at 4, and instructs ORR to place him in secure detention, see Corkery Dec.

          10       Ex. B (De La Cruz Test.), at 5:6-10, 5:23-6:2. This is done even though the child was in removal

          11       proceedings at the time ORR previously released him to a sponsor. As Plaintiffs’ expert Susan Cruz

          12       explains, the “evidence” of gang affiliation on which DHS purports to rely does not contain reliable

          13       indicators of gang membership or affiliation. Cruz Dec. ¶¶ 18-19, 29-31, 36, 41-43.

          14              Second: ORR

          15

          16                                                              . Corkery Dec., Ex. E (HHS), at 3728-31. ORR

          17

          18                   . See Corkery Dec., Ex. E (HHS), at 2551-56; see also Nanos Dec., Ex. 7. ORR’s Senior

          19       Federal Field Specialist, James De La Cruz, admitted in this Court that ORR does not spend even one

          20       minute reviewing any purported evidence of gang involvement or the specifics of any child’s current

          21       living situation. Corkery Dec., Ex. B, at 53:13-21.

          22              Third: After making the placement, ORR’s only review of the child’s detention is a unilateral

          23       30-day “step down” process that does not afford notice regarding the basis for its custody decision,

          24       involvement of counsel, or any opportunity for the child to confront evidence or respond to the charges

          25       against him. Similarly, ORR’s “reunification process” puts the burden on the child and his attorneys

          26       to affirmatively prove that he is not a gang member and that he should be released to his parent. See

          27       generally Corkery Dec., Ex. A (ORR Rules), §§ 2.1 et seq. This process, which the Named Children’s

          28       sponsors originally completed within a few weeks, is now a scavenger hunt in which the child’s parents
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 SAN FRANCISCO                                                                               CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 20 of 66



            1      and attorneys are subjected to escalating requests for information, and nothing is ever enough. See,

            2      e.g., Gomez Dec. ¶¶ 11-15; Saravia Supp. Dec. ¶¶ 2-6, 8-12; M.U. Dec. ¶¶ 2-6, 10-14. Moreover, an

            3      ORR internal memo dated August 16, 2017 states:

            4

            5                                                                                         Corkery Dec., Ex. E

            6      (HHS), at 3729.

            7             Fourth: The Government’s practices are causing great harm. According to Plaintiffs’ expert

            8      Dr. Lisa Fortuna, youth who have faced prior trauma, like the Named Children, are at serious risk of

            9      suffering from severe psychosocial and mental health issues as a result of being placed in detention.

          10       Fortuna Dec. ¶¶ 10-22, 41.

          11                      1.      Facts Relating to J.G.
          12              J.G. was born in El Salvador on             , 2000 and came to the United States in 2015 after

          13       gang members threatened him and beat him up, breaking his arm. J.G. Dec. ¶¶ 1-3. He was

          14       apprehended by immigration authorities and given a notice to appear in immigration court. Id. ¶ 5;

          15       Nanos Dec. ¶ 4, Ex. 1. Within a month, ORR released him to his mother’s care under a sponsorship

          16       agreement. She took good care of him, even changing her work schedule so she could spend more

          17       time with him. Gomez Dec. ¶¶ 3-5; J.G. Dec. ¶ 11. The immigration court administratively closed

          18       J.G.’s removal proceedings based on the pendency of his mother’s U Visa application. Nanos Dec. ¶¶

          19       5-6, Ex. 2; Gomez Dec. ¶ 2.

          20              In late 2015, J.G. cut classes at school and was expelled. Afterwards, local police started

          21       following him, harassing him, arresting him for trespassing, and accusing him of being in a gang. J.G.

          22       Dec. ¶¶ 8-10. In November 2016, DHS issued

          23                                          . Nanos Dec. ¶¶ 7-8, Ex. 3. Ms. Cruz, having reviewed the evidence

          24       relied on by the Government, concludes that the evidence “does not support the conclusion that J.G.

          25       is a member of, or affiliated with, the MS-13 gang,” and that “before J.G was detained by DHS on

          26       June 16, 2017 . . . the government had no reliable basis to believe that J.G. was an MS-13 gang affiliate

          27       or member.” Cruz Dec. ¶¶ 28, 34; see also id. ¶¶ 29-33.

          28              On April 19, 2017, J.G. was stopped by local police while walking to a deli with a friend; the
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 SAN FRANCISCO                                                                                 CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 21 of 66



            1      officer said he was a gang member and referenced J.G.’s Salvadoran soccer jersey as proof. J.G. Dec.

            2      ¶¶ 12-13. The police insulted him, threatened him with deportation, and ultimately arrested him on the

            3      charge of “false personation.” Id. ¶¶ 12-16; Gomez Dec. ¶ 7. J.G. was held in local custody, under

            4      harsh and scary conditions, for about two months. J.G. Dec. ¶¶ 15-18.

            5             Meanwhile, DHS issued

            6

            7                                                    . Nanos Dec. ¶¶ 12-13, Exs. 5-6. On June 16, 2017, two

            8      days after J.G.’s family posted bail, but before he was released from jail, ICE arrested him, took him

            9      to Manhattan, put him on a plane, and transported him to Yolo. See J.G. Dec. ¶ 20; Nanos Dec. ¶¶ 14-

          10       15. The ORR intake form shows that

          11

          12                                      . Nanos Dec. ¶¶ 16-18, Exs. 6-7. A notation in his file dated July 17,

          13       2017 (one month after ORR sent him to Yolo), states:

          14

          15                                              Nanos Dec., Ex. 7 (HHS), at 2555 (emphasis added).

          16              J.G. remained at Yolo over one month, during which time Yolo never received corroboration

          17       of J.G.’s alleged gang activity. See Corkery Dec., Ex. D (Supp. RFA Resp. No. 3), at 2. On July 26,

          18       2017, he was transferred to Selma Carson home in Fife, Washington, where he remains now. J.G. Dec.

          19       ¶ 23. Neither Yolo nor ORR has produced any report of his alleged gang involvement. See, e.g.,

          20       Corkery Dec., Ex. E (HHS), at 1786-87 (Yolo

          21                                                                                 ); id. at 1795 (J.G.’s case

          22       manager at Yolo                                                                         ); id. at 5609-

          23       11. In fact, Yolo considered J.G.

          24                                id. at 1786-87, and even                                        . Id. at 1812-

          25       1813. Email messages recently produced by Defendants show

          26

          27                                                                                                     Corkery

          28       Dec., Ex. E (HHS), at 3568.
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                                                                   6.
 SAN FRANCISCO                                                                              CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 22 of 66



            1             J.G.’s multiple transfers and detention led his original immigration attorney to withdraw as

            2      counsel. Nanos Dec. ¶ 3. J.G.’s mother’s application for his release through “reunification” has been

            3      markedly more difficult than the first time she obtained custody. Gomez Dec. ¶¶ 13-15. J.G. and his

            4      mother have suffered greatly from his extended incarceration and the uncertainty regarding his release.

            5      J.G. Dec. ¶¶ 22-27; Gomez Dec. ¶ 17.

            6                     2.      Facts Relating to A.H.

            7             A.H., through his mother, is the original plaintiff in this case. See Dkt. 7, at 2-5 (background

            8      on A.H.’s case). On June 12, 2017, he was arrested by ICE officers outside his mother’s home. A.H.

            9      Dec., Dkt. 8, ¶ 9. The ICE warrant alleged, as the sole ground for arrest, “the pendency of ongoing

          10       removal proceedings.” Loechner Dec., Dkt. 15-1, at 4. The officers told A.H. that he was being arrested

          11       because he had admitted to being in a gang, even though he has never been a gang member. A.H. Dec.,

          12       Dkt. 8, ¶¶ 9, 23. ICE told ORR that it should place A.H. in secure detention. See Corkery Dec. Ex. B,

          13       at 5:23-6:2. ORR

          14                                                               . Corkery Dec., Ex. E (HHS), at 1-7, 254. An

          15       ORR agent instructed ORR’s intake personnel: “As per the new policy, please place the minor in a

          16       secure detention center.” Corkery Dec., Ex. N (Intake Email), at 1 (emphasis added).

          17              But the only evidence the Government produced in response to the TRO in this case, and in

          18       response to Yolo’s efforts to verify the allegations against A.H., is

          19                                                                                . Corkery Dec., Ex. F (YOLO),

          20       at 27-35. Expert Susan Cruz has concluded that “this evidence does not support the conclusion that

          21       A.H. is a member of, or is affiliated with, the MS-13 gang.” Cruz Dec. ¶ 40. At the time ORR placed

          22       A.H. in secure detention at Yolo, it “had no reliable information to establish A.H. as an MS-13 gang

          23       affiliate or member.” Id. ¶ 46.

          24              A.H. was held in Yolo for over 30 days, from June 13, 2017 to about July 15, 2017, when he

          25       was transferred to a less restrictive facility in Dobbs Ferry, NY. Saravia Supp. Dec. ¶ 7. A.H.’s ongoing

          26       incarceration continues to separate him from his family. Saravia Dec., Dkt. 9, ¶¶ 7-10; Saravia Supp.

          27       Dec. ¶ 10. A.H.’s mother began seeking reunification with her son as soon as he was detained, but the

          28       process has been much more onerous than it was the last time she went through it. Saravia Supp. Dec.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 23 of 66



            1      ¶¶ 2-6, 8-12; Greenberg Dec. ¶¶ 6-8.

            2             A.H.’s detention also poses continued obstacles to his family court case. See A.H. Supp. Dec.

            3      ¶ 8; Greenberg Dec. ¶¶ 3-4 (court raised concerns about conducting evidentiary hearing while A.H. is

            4      in custody). A.H. will turn 18 on             , 2018, and, if he is still in ORR custody, he will be

            5      transferred to adult custody and lose his protections under the TVPRA. A.H. Dec. ¶ 1.

            6                     3.      Facts Relating to F.E.
            7             F.E. was born in El Salvador on          , 2000 and came to the United States in 2014, after he

            8      was threatened with death by local gang members. F.E. Dec. ¶¶ 1-3. On December 5, 2014, he was

            9                                                                . Corkery Dec., Ex. E (HHS), at 433-34.

          10       Reunification with his mother took about three days, and she entered into a sponsor agreement with

          11       ORR. M.U. Dec. ¶ 14; Corkery Dec., Ex. E (HHS), at 343, 349-50, 356-57. With the help of an

          12       immigration attorney, F.E. obtained a family court order that made it possible for him to apply for SIJ

          13       status, and eventually USCIS approved his SIJ Petition. Johnson Dec. ¶¶ 3-4, Ex. 1.

          14              In February 2017, a school resource officer accused F.E. of “loitering” in the hallways of his

          15       school. F.E. Dec. ¶ 6. The officer searched F.E. and found a piece of paper with the number “503”

          16       written on it—the area code of his home country. Id. F.E. was suspended for several days and, after

          17       that, the local police began harassing and routinely stopping him on the streets. Id. ¶ 7. F.E. is not a

          18       gang member, id. ¶ 8, and he requested two meetings with the police to explain this and ask them to

          19       stop bothering him, but the harassment continued. Id. ¶ 9.

          20              On June 9, 2017, F.E. was walking home with his friend from playing soccer, and started play

          21       fighting when he was stopped by police officers, who told him he was “acting stupid” and arrested

          22       him on a charge of disorderly conduct (a non-criminal violation under New York law). Id. ¶ 10;

          23       Johnson Dec. ¶ 5. He was kept overnight in the precinct, handcuffed, and told by the officers that he

          24       would be deported. F.E. Dec. ¶ 11. Two days later, ICE agents came to his home and re-arrested him;

          25       they told him that he was being arrested “because you aren’t legal. I need to give you to immigration.

          26       You’ll probably be deported.” Id. ¶ 13; Johnson Dec. ¶ 7. Another ICE agent confirmed that he was

          27       arrested not for gang affiliation, but because he had an open immigration case. F.E. Dec. ¶ 14.

          28              ORR’s intake form shows that
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 24 of 66



            1                                                                                                   . Corkery

            2      Dec., Ex. E (HHS), at 2551-53. He

            3

            4

            5                                                          . Id.

            6              Similarly, a

            7

            8

            9                                                                                       Corkery Dec., Ex. G

          10       (ICE), at 259-60. Ms. Cruz has concluded that “this evidence does not support the conclusion that F.E.

          11       is a member of, or affiliated with, the MS-13 gang.” Cruz Dec. ¶¶ 35, 39.

          12               F.E. was taken to the Shenandoah Valley Juvenile Center, a secure detention facility in

          13       Virginia, and held there until July 6, 2017. F.E. Dec. ¶¶ 15-16. Mr. De La Cruz has acknowledged to

          14       F.E.’s attorney that

          15                                                                                   Johnson Dec. ¶ 12(b), Ex.

          16       5. To date, no one has produced any evidence supporting this assertion. Id. ¶ 9; see also F.E. Dec.

          17       ¶ 22; M.U. Dec. ¶ 15; Corkery Dec., Ex. E (HHS), at 4747 (Defendant Esquivel

          18                                                                                                    ). To the

          19       contrary, Defendant Esquivel—the official in charge of his detention in Fairfield, California—

          20

          21                                                  Corkery Dec., Ex. E (HHS), at 4747; see also Johnson Dec. ¶

          22       12(a), Ex. 4 (F.E.’s case manager at Shenandoah: “I do not have any evidence confirming that [F.E.]

          23       is a gang member.”).

          24               On June 21, 2017, USCIS issued a Notice of Intent to Revoke his approved SIJ Petition, stating,

          25       “You have been identified by law enforcement as a known member of the violent street gang, MS-

          26       13.” Johnson Dec. ¶ 8, Ex. 2 at 4. The Notice is silent as to what agency or officer made the

          27       “identification,” and the basis for its allegations. Id.

          28               F.E.’s mother and attorney have been trying for over three months to reunify him with his
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 25 of 66



            1      family. Johnson Dec. ¶ 11; M.U. Dec. ¶ 7. Caseworkers at each of the three facilities where F.E. was

            2      detained requested the same information of them; every time their demands were met, new ones would

            3      surface. Johnson Dec. ¶¶ 11, 12(a)-(l); M.U. Dec. ¶¶ 7-8, 10-14. The ORR “reunification” process,

            4      which took only three days when F.E. was first apprehended after his entry into the country, has now

            5      stretched out over three months, with no end in sight. M.U. Dec. ¶ 14; Johnson Dec. ¶¶ 2, 15. This is

            6      notwithstanding a recent positive recommendation for reunification made by a case worker who

            7      conducted a home visit, Johnson Dec. ¶ 12(k); Corkery Dec., Ex. E (HHS), at 3800-02, 3833-35, and

            8

            9                           Corkery Dec., Ex. F (YOLO), at 3800-02, 3833-35.

          10                       4.      The Named Children’s Experiences Are Typical of a Broader Class of
                                           Sponsored UCs with Gang Allegations
          11

          12               J.G.’s, A.H.’s, and F.E.’s experiences are notably similar. In addition, Plaintiffs submit the

          13       declaration of K.A., a fourth Sponsored UC who tells a remarkably similar story of being released to

          14       the custody of a parent, see K.A. Dec. ¶¶ 8-12; having minor encounters with the local police after an

          15       incident at school, id. ¶¶ 13-15; and then being arrested and sent to a “staff secure” facility in Fairfield,

          16       California, id. ¶¶ 16-23, where he has remained for two months, id. ¶¶ 28-29, without any information

          17       as to why he is there or when he might be released. Id. ¶¶ 31-32.

          18               As discovery in this case has revealed, these children are subject to a pattern and practice that

          19       affects a much wider group of youth. This year,

          20

          21

          22                . See Corkery Dec., Ex. N (Intake Email), at 1 (“As per the new policy, please place the minor

          23       in a secure detention center”) (emphasis added); see also Corkery Dec., Ex. E (HHS), at 3728-31.

          24       ORR also has a pattern and practice of placing children in secure facilities based on unreviewed and

          25       unquestioned assertions by DHS that the child has a gang affiliation, even if ORR has an ongoing

          26       relationship with the child’s sponsor. See Corkery Dec. Ex. B, at 53:16-21 (no review of DHS

          27       recommendation), 52:7-19 (no review of DHS allegations 18 days after A.H. arrest); see also ORR

          28       Letter re: A.H., Dkt. 27-1, at 3; Johnson Dec. ¶ 14 (De La Cruz admitting process is “thicker” than it
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                          Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 26 of 66



            1      used to be). In the case of any child who has ever been in secure custody, only the Director of ORR

            2      can approve reunification, contrary to the published ORR Rules, which state that Federal Field

            3      Specialists have such authority. Johnson Dec. ¶ 15; Corkery Dec., Ex. A (ORR Rules), § 2.3.1. Since

            4      ORR automatically places alleged gang members in secure custody, this means that no alleged gang

            5      member can be released without the ORR Director’s approval. And it appears that ORR now simply

            6      refuses to reunite any such child with his sponsor.

            7               Indeed, Defendant Cardall, the Chief Probation officer responsible for Yolo, concluded he did

            8      not have grounds under ORR policy to detain the majority of the youth that ORR sent to Yolo from

            9      New York with alleged gang affiliations. Defendant Cardall has admitted that the federal government

          10       failed to provide, within the 30-day “step down period,” evidence of alleged gang affiliation with

          11       respect to at least seven of the undocumented teenagers who were sent by ORR to Yolo from New

          12       York, and that the Yolo County Probation Department reached out to local law enforcement in the

          13       jurisdiction where the teens were arrested, but often found corroboration of gang allegations to be

          14       “lacking or insufficient.” See Corkery Dec., Ex. C (RFA Resp.), at 2-3; see also Corkery Dec., Ex. D

          15       (Supp. RFA Resp.), at 2.

          16                Finally, Plaintiffs’ trauma expert Dr. Lisa Fortuna describes how children who have faced

          17       adversity in life are at high risk of suffering from severe psychological harm when placed in detention

          18       facilities. Fortuna Dec. ¶¶ 16-27. Based on the Named Children’s backgrounds, she opines that these

          19       youth have a real and substantial risk of suffering from severe mental health issues as a result of being

          20       placed in these facilities, issues including but not limited to chronic anxiety and stress, depression and

          21       suicidality, post-traumatic stress disorder, and permanent estrangement from interpersonal

          22       relationships. Id. ¶¶ 12-14, 27, 41. She concludes that, in her opinion, these children would be better

          23       served by a supportive family environment and being released to their parents. Id. ¶¶ 31, 36.

          24       III.     DEFENDANTS’ MOTION TO DISMISS SHOULD BE DENIED
          25                A.     Standard of Review
          26                A Rule 12(b)(1) challenge to jurisdiction may be facial or factual. Safe Air for Everyone v.

          27       Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). The court treats a facial attack like a Rule 12(b)(6) motion

          28       to dismiss, and must “[a]ccept[] the plaintiff’s allegations as true and draw[] all reasonable inferences
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 27 of 66



            1      in the plaintiff’s favor.” Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014) (citation omitted). A

            2      factual attack relies on evidence outside the complaint, id., and the court must “resolve all disputes of

            3      fact in favor of the non-movant.” Dreier v. United States, 106 F.3d 844, 847 (9th Cir. 1997). Similarly,

            4      the court may look outside the pleadings to resolve a challenge to venue under Rule 12(b)(3), but the

            5      court “must draw all reasonable inferences . . . and resolve all factual conflicts in favor of [plaintiffs].”

            6      Murphy v. Schneider Nat’l, Inc., 362 F.3d 1133, 1138 (9th Cir. 2004).

            7              Under Rule 12(b)(6), this Court must take all well-pled facts as true and “construe them in the

            8      light most favorable to plaintiffs.” OSU Student All. v. Ray, 699 F.3d 1053, 1061 (9th Cir. 2012). The

            9      complaint must allege facts supporting a “plausible” claim, Bell Atl. Corp. v. Twombly, 550 U.S. 544,

          10       555-56 (2007), meaning that it “pleads factual content that allows the Court to draw the reasonable

          11       inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

          12       (2009) (citation omitted).

          13               B.      This Court Retains Jurisdiction and Venue Over Plaintiffs’ Claims
          14                       1.      This Court Retains Habeas Jurisdiction
          15               This Court rightly concluded that ORR Federal Field Specialist Elicia Smith is a proper

          16       respondent for A.H.’s habeas claim. This is also true for the Named Children and the Proposed Class.

          17       As this Court explained, “where the Government is holding someone in a facility run by some other

          18       entity . . . there are a lot of reasons . . . for not having the head of that facility be named the respondent

          19       in a habeas case.” Tr. 6/29/17, Dkt. 22, at 2:16-3:10. As the Court found at A.H.’s TRO hearing:

          20               Ms. Smith is responsible for how things go with the custody of the child. [¶] There are all these
                           ORR policies about the way in which the child is held in custody and the procedures for holding
          21               the child in custody, and Ms. Smith is in charge of . . . overseeing that, much like a warden
                           would be in charge of it in a more conventional scenario.
          22

          23       Corkery Dec. Ex. B, at 85:11-19. The evidence amply supports this conclusion. James De La Cruz,

          24       ORR’s Senior Field Program Specialist, confirmed that Ms. Smith is ORR’s “top person” in the

          25       Northern California region. Id. at 55:13-16; see also Am. Pet., Dkt. 31, ¶¶ 19, 40; ORR Guide, Guide

          26       to Terms (explaining that Federal Field Specialists “serve[] as the regional approval authority for

          27       unaccompanied [] children transfer and release decisions”); De La Cruz Dec., Dkt. 15-2, ¶¶ 9-11; Mass

          28       Supp. Dec., Dkt. 19-2, Ex. 2 (Yolo County Board of Supervisors agenda item describing ORR
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 28 of 66



            1      authority over youth held pursuant to contract at Yolo).

            2             Where the Government detains individuals pursuant to contracts with other entities, the proper

            3      custodian is the official with “legal custody” over the detainee. Here, that is Ms. Smith. In Al-Amin v.

            4      Davis, No. 12-cv-1197, 2012 WL 1698175, at *3 (D. Colo. May 15, 2012), a prisoner was incarcerated

            5      in a federal prison pursuant to a contract with the Georgia corrections department. Al-Amin found that

            6      the petitioner must sue in the district where a respondent resides who “exercised legal control with

            7      respect to the challenged ‘custody,’” id. (quoting Rumsfeld v. Padilla, 542 U.S. 426, 438 (2004)), as

            8      it would make no sense to name a person with no release authority over the petitioner. See, e.g., Holder

            9      v. Curley, 749 F. Supp. 2d 644, 646-47 (E.D. Mich. 2010) (collecting similar cases); Williams v.

          10       Miller-Stout, No. 05-cv-0864-ID, 2006 WL 3147667, at *1 (M.D. Ala. Nov. 2, 2006) (denying venue

          11       transfer because party with legal control was in district); Carballo v. LaManna, No. 05-cv-3276, 2006

          12       WL 3230761, at *1 (D.S.C. Nov. 6, 2006).

          13              The Government’s recycled arguments fare no better now than they did before. It relies heavily

          14       on Padilla, while acknowledging that the Supreme Court expressly left open whether the “immediate

          15       custodian” rule applies to immigration habeas petitions. See Padilla, 542 U.S. at 435 n.8. The

          16       Government also suggests that the REAL ID Act resolved this issue, see Gov. MTD, Dkt. 54, at 6 n.4,

          17       but the REAL ID Act does not alter the critical fact that the Government—not localities who operate

          18       juvenile facilities—exercises legal authority over Plaintiffs’ custody. See Armentero v. INS, 412 F.3d

          19       1088, 1099 (9th Cir. 2005) (Berzon, J., dissenting) (regulations gave detention authority over Mariel

          20       Cubans to ICE officers, rendering them proper custodians post-REAL ID).

          21              Under the Government’s view, the wardens of the facilities where the Named Children are

          22       detained are the only proper custodians. See Gov. MTD, Dkt. 54, at 8. If that were correct, then only

          23       Defendants Cardall and Esquivel (“Facility Directors”) could remain as defendants. Yet the Facility

          24       Directors disclaim any authority over the Named Children or Proposed Class members, and aver that

          25       “the Federal Defendants alone control every aspect of the detentions challenged in this action.” Cardall

          26       MTD, Dkt. 52, at 5-6 (emphasis added); id. at 7; Esquivel MTD, Dkt. 58, at 4, 6 (claiming “no legal

          27       authority to make determinations” regarding Plaintiffs’ custody). Dismissing the federal Defendants

          28       would leave only those parties who lack any ability to effectuate the relief sought in the complaint.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 29 of 66



            1      The habeas custodian rules do not compel such an absurd result.

            2             In contrast, Plaintiffs’ position is consistent with decisions finding that the ICE Field Office

            3      Directors are the proper custodians for habeas petitions brought by adult immigration detainees. See,

            4      e.g., Zabadi v. Chertoff, No. 05-cv-1796, 2005 WL 1514122, at *3 (N.D. Cal. June 17, 2005) (“The

            5      district director has full authority to direct the local warden to release petitioner.”); Roman v. Ashcroft,

            6      340 F.3d 314, 320 (6th Cir. 2003); Campbell v. Ganter, 353 F. Supp. 2d 332, 337 (E.D.N.Y. 2004).

            7      Here, Ms. Smith serves the analogous function in the ORR hierarchy because she makes decisions

            8      about placement and transfers for juveniles in the Northern California region. See Corkery Dec., Ex.

            9      A (ORR Rules), § 2.3.1 (FFSs “have the authority to approve all [UC] transfer and release decisions”

          10       and “make final release and transfer decisions”).

          11              In the alternative, this Court should find that national-level officials—including the Secretary

          12       of DHS, officials of ORR, and the Attorney General—are the proper respondents here. See Armentero

          13       v. INS, 340 F.3d 1058, 1069-70 (9th Cir. 2003), withdrawn on reh’g, 382 F.3d 1153 (9th Cir. 2004)

          14       (explaining why “practicality, efficiency, and the interests of justice” demand relaxation of immediate

          15       custodian rule in habeas challenges to immigration detention). ORR, not the wardens of contracted

          16       facilities, is the relevant decision maker. See, e.g., Santos v. Smith, No. 17-cv-0020, 2017 WL

          17       2389722, at *8 (W.D. Va. June 1, 2017) (finding ORR director proper custodian because only “a

          18       directive from ORR itself” would ensure juveniles’ release). Numerous courts have likewise found

          19       that national-level officials are the proper respondents in habeas actions challenging immigration

          20       detention. See, e.g., Jarpa v. Mumford, 211 F. Supp. 3d 706, 723-25 (D.Md. 2016); Sanchez-Penunuri

          21       v. Longshore, 7 F. Supp. 3d 1136, 1148 (D. Colo. 2013); Bogarin-Flores v. Napolitano, No. 12-cv-

          22       0399, 2012 WL 3283287, at *2 (S.D. Cal. Aug. 10, 2012).1 Indeed, by his own admission Mr. De La

          23       Cruz and other officials based in Washington, D.C. signed off on the decision to override the Named

          24       Children’s initial placement decisions, and helped facilitate their later transfers. See Corkery Dec., Ex.

          25       E (HHS), at 4725, 5519, 5835-36, 5904-11; Corkery Dec., Ex. F (YOLO), at 61; Gov. MTD, Dkt. 54-

          26
                   1
          27        But see, e.g., Ahmed v. Shockley, No. 09-cv-1742, 2009 WL 2588550, at *1 n.1 (D.Md. Aug. 19,
                   2009) (finding local warden proper respondent).
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 30 of 66



            1      3, ¶¶ 1, 4, 8.2

            2               Finally, apart from habeas, 28 U.S.C. § 1331 and the Administrative Procedure Act (“APA”)

            3      provide vehicles for raising Plaintiffs’ statutory and constitutional claims.3 Plaintiffs have brought suit

            4      against federal officers seeking to prevent current and future violations of federal law (rather than

            5      monetary relief), which are plainly cognizable under 28 U.S.C. § 1331. See, e.g., Larson v. Domestic

            6      & Foreign Commerce Corp., 337 U.S. 682, 697-99, nn.18-19 (1949); Ex Parte Young, 209 U.S. 123,

            7      145 (1908); Erwin Chemerinsky, Federal Jurisdiction § 9.1, at 588 (4th ed. 2003) (“[T]he Supreme

            8      Court long has held that federal officers may be sued for injunctive relief.”). And, the Government

            9      concedes that, at the bare minimum, APA review remains available here. See Gov. MTD, Dkt. 54, at

          10       12-13.

          11                         2.   Venue Remains Proper in the Northern District
          12                The Government also contends that venue is improper in this District, Gov. MTD, Dkt. 54, at

          13       9, but this argument is flawed in numerous respects. Under 28 U.S.C. § 1391, a civil action against a

          14       government official or agency is proper in any judicial district in which “a defendant in the action

          15       resides” or “a substantial part of the events or omissions giving rise to the claim occurred.” 28 U.S.C.

          16       § 1391(e)(1)(A)-(B). As Defendants’ own cases make clear, Congress’s purpose in amending the

          17       general venue statute to add this provision was to “make it easier to sue” the “head of a governmental

          18
                   2
          19         As a fallback, the Government asserts that this Court lacks habeas authority over J.G. and F.E. Dkt.
                   54 at 8 n.5. If this Court finds that national-level officials are proper respondents, then this Court would
          20       have habeas authority over them. Cf. Demjanjuk v. Meese, 784 F.2d 1114 (D.C. Cir. 1986) (permitting
                   habeas suit in any district in exceptional circumstances involving difficulties in locating habeas
          21       petitioner). In addition, there is no serious dispute that J.G. and F.E. can raise claims under 28 U.S.C.
                   1331 and the APA, as discussed infra. Notably, the Government does not dispute this Court’s authority
          22       over A.H., no doubt because “jurisdiction attaches on the initial filing for habeas corpus relief, and it
                   is not destroyed by a transfer of the petitioner and the accompanying custodial change.” Francis v.
          23       Rison, 894 F.2d 353, 354 (9th Cir. 1990) (citation omitted); see also Nguyen Da Yen v. Kissinger, 528
                   F.2d 1194, 1204 (9th Cir. 1975).
          24       3
                     This Court has previously inquired whether habeas claims and claims for declaratory and injunctive
          25       relief can be brought in the same case. Such suits are common, particularly in the immigration context.
                   See, e.g., Chehazeh v. Att’y Gen., 666 F.3d 118, 125 (3d Cir. 2012) (finding jurisdiction over complaint
          26       brought under habeas statute and Section 1331); Hernandez v. Lynch, No. 16-cv-00620, 2016 WL
                   7116611, at *1 (C.D. Cal. Nov. 10, 2016) (granting preliminary relief on complaint seeking “habeas,
          27       declaratory, and injunctive relief”); see also Rodriguez v. Hayes, 591 F.3d 1105, 1111 (9th Cir. 2010)
                   (habeas class action seeking declaratory and injunctive relief).
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 SAN FRANCISCO                                                                                   CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 31 of 66



            1      department.” Kings Cty. Econ. Cmty. Dev. Ass’n v. Hardin, 333 F. Supp. 1302, 1303 (N.D. Cal. 1971);

            2      see also Lamont v. Haig, 590 F.2d 1124, 1128 (D.C. Cir. 1978). “[T]he legislative history [of Section

            3      1391] emphasizes the statute’s purpose, which was to broaden the venues available to plaintiffs for

            4      suits against the federal government.” Sidney Coal Co., Inc. v. Soc. Sec. Admin., 427 F.3d 336, 344

            5      n.11 (6th Cir. 2005); Stafford v. Briggs, 444 U.S. 527, 539 (1980) (analyzing legislative history). Any

            6      interpretation of the federal venue statute must keep this purpose in mind.4

            7             First, there can be no serious doubt that Ms. Smith “resides” in this district. 28 U.S.C.

            8      § 1391(e)(1)(A). Under section 1391(e), a government official “resides” in the judicial district “where

            9      he performs his official duties.” Nestor v. Hershey, 425 F.2d 504, 521 n.22 (D.C. Cir. 1969). Ms.

          10       Smith’s office is located in this District, see Am. Pet., Dkt. 31, ¶ 19, Gov. MTD, Dkt. 54, at 10, and

          11       she carries out her functions here. See, e.g., Corkery Dec., Ex. E (HHS), at 4493-94, 5733. That Ms.

          12       Smith performs her official duties in this district is sufficient to support venue here. See Nestor, 425

          13       F.2d at 521; 14D Wright & Miller, Fed. Prac. & Proc. § 3815 (4th ed. 2017) (“[O]nly one—not all—

          14       defendants must reside in the chosen venue.”).

          15              The Government resists this conclusion by arguing that Ms. Smith is a mere “subordinate.”

          16       Gov. MTD, Dkt. 54, at 11. Yet the record shows otherwise. See, Section III.B.1, supra. Mr. De La

          17       Cruz himself testified that Ms. Smith is “responsible for ensuring that the [detention] program follows

          18       . . . ORR’s policies and procedures,” Corkery Dec. Ex. B, at 54:12-55:16, which are at the heart of

          19       Plaintiffs’ claims. As described below, the evidence demonstrates that Ms. Smith was far more than a

          20       mere “subordinate” with an incidental relationship with this case. Cf. Hardin, 333 F. Supp. at 1303.

          21       To the contrary, she played a key role in overseeing the Named Children’s detention and transfers. See

          22       Beazer E., Inc. v. U.S. EPA, Region III, No. 90-cv-2753, 1990 WL 109892, at *1 (E.D.Pa. July 30,

          23       1990) (denying venue transfer to Washington D.C. where local federal office “performed official

          24
                   4
          25         Defendants rely on Reuben in an effort to limit the residence of government officials to their national
                   headquarters. see Gov. MTD, Dkt. 54, at 11 (citing Reuben H. Donnelly Corp. v. FTC, 580 F.2d 264,
          26       267) (7th Cir. 1978)). But Reuben, which was decided before Stafford, cannot be reconciled with the
                   purpose of the federal venue statute. Section 1391’s text and history make clear that Congress sought
          27       to broaden venue options in lawsuits that previously could only be brought in D.C. Stafford, 444 U.S.
                   at 540-41; Milliken & Co. v. FTC, 565 F. Supp. 511, 514-15 (D.S.C. 1983) (explaining that Reuben’s
          28       holding “would defeat the language of § 1391(e) and thwart the intent of Congress”).
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 32 of 66



            1      duties”).

            2             Relatedly, the Government mounts a narrower attack on Plaintiffs’ claims against ICE and

            3      USCIS, contending that those agencies took no actions adverse to Plaintiffs in this District. See Gov.

            4      MTD, Dkt. 54, at 10. Even assuming that this is correct, the venue statute requires that only one

            5      defendant reside in this District. See 28 U.S.C. § 1391(e) (allowing venue in suit against federal

            6      officers to “be brought in any judicial district in which (A) a defendant in the action resides”)

            7      (emphasis added). Because Ms. Smith “resides” here, venue for all federal Defendants is proper.5

            8             Second, “a substantial part of the events or omissions giving rise to the claim occurred” in this

            9      District. 28 U.S.C. § 1391(e)(1)(B). The Petition alleges that Ms. Smith “serves as the approval

          10       authority for transfer and release decisions” pertaining to the Named Children and Proposed Class

          11       members, see Am. Pet., Dkt. 31, ¶¶ 7, 19, and the evidence confirms her involvement (and that of

          12       other ORR staff based here) in Plaintiffs’ day-to-day custody. Ms. Smith

          13                                                                                                         . See

          14       Corkery Dec., Ex. E (HHS), at 4493-94, 5904-11; Corkery Dec., Ex. F (YOLO), at 60-61, 69-70. She

          15                                                                                       . Corkery Dec., Ex. F

          16       (YOLO), at 38-41, 42-44; see also Corkery Dec., Ex. E (HHS), at 5908-5910. She and other staff

          17       based in this District

          18                                      . See Corkery Dec., Ex. E (HHS), at 818-19, 4725. Additionally, she

          19

          20                                                    . See id. at 5734, 5835-37; Corkery Dec., Ex. F (YOLO),

          21       at 13-15.

          22              All these events and omissions giving rise to Plaintiffs’ claims occurred in this District, under

          23       Ms. Smith’s direction. Also, under § 1391(e), a plaintiff is not limited to the district where the “more

          24       substantial, or even the most substantial” events or omissions giving rise to the claim occurred. See

          25
                   5
          26         Defendants mention the possibility of transfer to another court, Gov. MTD, Dkt. 54, at 9-10, but offer
                   no argument as to why that would be appropriate, much less the required “strong showing of
          27       inconvenience to warrant upsetting the plaintiff's choice of forum.” Decker Coal Co. v.
                   Commonwealth Edison Co., 805 F.2d 834, 843 (9th Cir.1986) (citation omitted).
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 33 of 66



            1      First of Mich. Corp. v. Bramlet, 141 F.3d 260, 263 (6th Cir. 1998) (citation and quotation marks

            2      omitted). Rather, “any forum with a substantial connection to the plaintiff’s claim’ is proper. Id.

            3      (emphasis added). The evidence confirms that “action or inaction” in this District forms the basis of

            4      Plaintiffs’ claims. Gov. MTD, Dkt. 54, at 12.6

            5                     3.      Plaintiffs’ Claims Against Cardall and Esquivel Are Well Founded
            6             Defendants Cardall and Esquivel (the “Facility Directors”) seek dismissal based on two

            7      arguments not raised by the Government. See Cardall MTD, Dkt. 52; see also Equivel MTD, Dkt. 58.

            8      First, the Facility Directors assert that the Named Children’s claims are moot as to them because the

            9      Children have been transferred out of Yolo. See Cardall MTD, Dkt. 52, at 7-8; see also Equivel MTD,

          10       Dkt. 58, at 7-8. Yet Cardall acknowledges the Petition’s allegation that each Plaintiff remains subject

          11       to potential return to Yolo at any time. Cardall MTD, Dkt. 52, at 7-8; see Am. Pet., Dkt. 31, ¶¶ 10, 12,

          12       14; see also id. ¶ 115 (class members “can be re-arrested . . . and sent again to secure detention”).

          13       These allegations are far from speculative. Although the Government transferred the Named Children

          14       out of Northern California, it did so without any acknowledgment that its prior conduct was improper,

          15       and without disclaiming its ability to return them in the future. Id., ¶¶ 79, 90-91, 106-07; see also ORR

          16       Letter re: A.H., Dkt. 27-1; cf. Bell v. City of Boise, 709 F.3d 890, 898-99 (9th Cir. 2013) (addressing

          17       “stringent” standard for determining whether voluntary cessation renders case moot). Accordingly,

          18       there is “a likelihood of recurrence” that Plaintiffs will find themselves again in the Facility Directors’

          19       custody. Demery v. Arpaio, 37 F.3d 1020, 1025 (9th Cir. 2004). And if this Court grants Plaintiffs’

          20       motion for class certification, see Section V, infra, there would be a rotating group of noncitizen

          21       juveniles held in Yolo County and Fairfield subject to the Facility Directors’ ongoing custody, which

          22       would defeat any assertion of mootness. See Wade v. Kirkland, 118 F.3d 667, 670 (9th Cir. 1997).

          23              Second, Cardall and Esquivel contend that the Amended Petition makes “no allegations of

          24       unlawful conduct” against them. See Cardall MTD, Dkt. 52, at 2-4; see also Esquivel MTD, Dkt. 58,

          25       at 6-7. To the contrary, the Amended Petition states claims for relief against them by reason of their

          26
                   6
          27        Although Bramlet addressed the venue provision for nonfederal parties in current Section 1391(b)(1),
                   because the relevant language is identical, “cases construing [that] provision may be helpful in
          28       construing” the federal venue statue. 14D Wright & Miller, Fed. Prac. & Proc. § 3815.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 34 of 66



            1      contractual relationships with ORR. See Am. Pet., Dkt. 31, ¶¶ 23-24. Because of those relationships,

            2      they carry out the directives and requests of the federal Defendants, including by taking custody of the

            3      Named Children. Id., ¶¶ 73, 91, 100-02. More fundamentally, the Facility Directors’ argument that

            4      they are not proper respondents here, and the Government’s contention that they are the only proper

            5      defendants, cannot both be right.

            6             C.      Plaintiffs Have Stated Claims for Relief7
            7                     1.      Claim 1 – Unlawful Arrest
            8             The Government’s attacks on Plaintiffs’ unlawful arrest claims are unpersuasive. First, the

            9      Government asserts that the Named Children cannot seek relief in habeas “on the basis of their alleged

          10       unlawful arrests.” Gov. MTD, Dkt. 54, at 12. To the contrary, habeas courts have traditionally heard

          11       claims brought by petitioners asserting that the state lacks probable cause to detain them pending trial.

          12       See Gerstein v. Pugh, 420 U.S. 103, 115 (1975) (explaining that “initial determination of probable

          13       cause [] could be reviewed by higher courts on a writ of habeas corpus) (citing, inter alia, Ex Parte

          14       Bollman, 8 U.S. 75, 97-101 (1807)); Ex parte Burford, 7 U.S. 448, 453 (1806) (invalidating, in habeas

          15       action, warrant of confinement for lack of “good cause certain, supported by oath”). Consistent with

          16       this understanding, habeas courts have entertained Fourth Amendment challenges to federal custody.

          17       See Gonzalez v. Immigration & Customs Enf’t, No. 13-cv-4416, 2014 WL 12605368, at *3, *6-7 (C.D.

          18       Cal. July 28, 2014) (finding habeas authority over class action challenge to ICE detainers under Fourth

          19       and Fifth Amendments); see also Carlson v. Landon, 342 U.S. 524, 546-47 (1967) (addressing habeas

          20       challenge to propriety of re-arrest of noncitizen).8 Moreover, Defendants concede that Plaintiffs can

          21       raise their Fourth Amendment and TVPRA claims under Section 1331 and/or the APA. Gov. MTD,

          22       Dkt. 54, at 12-13.

          23              Second, Defendants contend that Plaintiffs cannot sue under the TVPRA because it provides

          24
                   7
                     Plaintiffs hereby withdraw their Fifth Claim for Relief, which alleges that Defendants unlawfully
          25       interfered with their right to counsel. See Am. Pet., Dkt. 31, ¶¶ 145-50.
                   8
          26         The Government’s cases do not say otherwise. Indeed, United States ex rel. Bilokumsky v. Tod, 263
                   U.S. 149, 151, 155-58 (1923), was itself a habeas action where the Court rejected a merits argument
          27       that detention was unreasonable, without questioning that such a claim could be brought in habeas.
                   See Medina v. U.S. Dep’t of Homeland Sec., No. 17-cv-0218, 2017 WL 1101370, at *2 (W.D. Wash.
          28       Mar. 24, 2017) (denying conditional release based on unique “posture of this case”).
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 35 of 66



            1      no “private right of action,” id. at 13, but that is irrelevant and incorrect. To begin, the habeas statute

            2      permits relief for petitioners who are “in custody in violation of the Constitution or laws . . . of the

            3      United States,” 28 U.S.C. § 2241(c)(3) (emphasis added), and Defendants concede that statutory

            4      claims can be brought in habeas, see Gov. MTD, Dkt. 54, at 20 n.9. And, as noted above, Defendants

            5      agree that Plaintiffs can bring suit under the APA to enjoin TVPRA violations. Id. at 13. Plaintiffs do

            6      not need a separate “private right of action” to permit suit here.

            7             Defendants are wrong in any event. Courts have long entertained suits in equity to bar the

            8      operation of Government conduct that violates statutory law. See Armstrong v. Exceptional Child Ctr.,

            9      Inc., 135 S. Ct. 1378, 1384-85 (2015) (describing “long history of judicial review of illegal executive

          10       action” in equity).9 In contrast, all Defendants’ cases either address whether a statute provides a private

          11       damages remedy (in contrast to the requests for injunctive or declaratory relief at issue here), see, e.g.,

          12       Touche Ross & Co. v. Redington, 442 U.S. 560, 562 (1979), or concern nonfederal defendants, see,

          13       e.g., Alexander v. Sandoval, 532 U.S. 275, 286-87 (2001).

          14              Third, the Government wrongly asserts that suppression of evidence is the exclusive remedy

          15       for Fourth Amendment violations. See Gov. MTD, Dkt. 54, at 15. In addition to habeas, the Fourth

          16       Amendment can be enforced through suits for equitable relief and damages. See, e.g., LaDuke v.

          17       Nelson, 762 F.2d 1318 (9th Cir. 1985); Sonoma Cty. Comm. for Immigrant Rights v. Cty. of Sonoma,

          18       644 F. Supp. 2d 1177 (N.D. Cal. 2009). To the extent that the Government suggests that 8 U.S.C.

          19       § 1252(f)(1) bars relief under this claim, that contention is squarely foreclosed by the Ninth Circuit’s

          20       decision in Rodriguez, 591 F.3d at 1118-22 (holding that 1252(f)(1) “was not meant to bar classwide

          21       declaratory relief,” and also that it permitted classwide injunctive relief “to enjoin conduct . . . [that]

          22       is not authorized by the statute”).

          23              The Government’s only attack on the merits of Plaintiffs’ false arrest claims is that 8 U.S.C. §

          24       1226(a) authorizes it to re-arrest the Named Children based on the same charges of removability. See

          25       Gov. MTD, Dkt. 54, at 13-15. This argument ignores that it is unreasonable under the Fourth

          26
                   9
                     The Government cites Vinieratos v. U.S. Dep't of Air Force, 939 F.2d 762, 774 (9th Cir. 1991), but
          27       all Vinieratos says is that “[a] general statute cannot confer jurisdiction when a more specific statute
                   explicitly denies it.” The Government does not say (nor could it) that any statute bars jurisdiction over
          28       Claims 1 through 4, and 6. In fact, it concedes that APA review is available.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 36 of 66



            1      Amendment for government officials to repeatedly re-arrest a person based on a prior charge that

            2      supported an earlier arrest. See United States v. Holmes, 452 F.2d 249, 260-61 (7th Cir. 1971) (finding

            3      that criminal defendant could not be rearrested for charge for which he had already been released on

            4      bail without separate charges justifying change); United States v. Kirkley, No. 11-cv-10097, 2011 WL

            5      3880908, at *5 (D. Kan. Sept. 1, 2011) (“[T]he continuing knowledge of defendant's guilt” of crime

            6      for which he had already made bond was insufficient to justify re-detention); United States v.

            7      Kordosky, No. 88-cr-0052, 1988 WL 238041, at *7 n.14 (W.D. Wis. Sept. 12, 1988) (“Absent some

            8      compelling justification, the repeated seizure of a person on the same probable cause cannot, by any

            9      standard, be regarded as reasonable under the Fourth Amendment.”). Otherwise, “harassment by

          10       continual rearrests could be justified by the continuing existence of ‘probable cause.’” Holmes, 452

          11       F.2d at 260-61. Under this rule, Petitioners cannot be re-arrested based on charges of removability that

          12       have not changed since ORR first released them. Even the case law addressing precursors to Section

          13       1226 makes clear that the Government’s authority to re-arrest is subject to “reasonable discretion” and

          14       may not be “arbitrary and capricious.” Rubinstein v. Brownell, 206 F.2d 449, 455 (D.C. Cir.

          15       1953), aff'd, 346 U.S. 929 (1954).

          16              Defendants’ conduct also runs contrary to the TVPRA’s structure and purpose. The statute

          17       requires that children “shall be promptly placed in the least restrictive setting that is in [their] best

          18       interest[s].” 8 U.S.C. § 1232(c)(2)(A); see also Santos, 2017 WL 2389722, at *5 (under TVPRA and

          19       the Flores Decree, “ORR should release [a UC] to a parent, if available”). Pursuant to this obligation,

          20       ORR previously determined that releasing the Named Children and other class members to their

          21       sponsors would be “in [their] best interests.” Id.; see also Am. Pet., Dkt. 31, ¶ 64 (ORR released A.H.

          22       to mother under sponsorship agreement), ¶ 83 (same as to F.E.), ¶ 95 (same as to J.G.). It would

          23       frustrate the TVPRA’s purpose to place Sponsored UCs “in the least restrictive settings” available,

          24       then permit ICE to re-arrest them based on preexisting removability charges. This would permit ICE

          25       to unilaterally undo ORR’s previous determination that it was “in the best interests” of the Named

          26       Children to release them to their sponsors. In light of the Fourth Amendment concerns with such an

          27       interpretation, the TVPRA must be construed to require reliable evidence of changed circumstances

          28       prior to the re-arrest of any Sponsored UC. See United States v. Weil, 432 F.2d 1320, 1323 (9th Cir.
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 37 of 66



            1      1970) (discussing statute that had been narrowly interpreted to avoid conflict with Fourth

            2      Amendment).

            3                     2.      Claim 2 – Procedural Due Process
            4                             a.      The Complaint States Procedural Due Process Claims Under the
                                                  Fifth Amendment and the TVPRA
            5

            6             Plaintiffs’ Second Claim alleges that Defendants have deprived them of their liberty without

            7      affording them procedural due process, in violation of the Fifth Amendment and the TVPRA. Am.

            8      Pet., Dkt. 31, ¶¶ 26-30, 60-61, 128-33. The Petition amply states claims under these provisions.

            9             To determine the protections due process requires, courts apply the Mathews v. Eldridge, test,

          10       which requires consideration of (1) the private interest at stake, (2) the comparative risk of an

          11       erroneous deprivation of liberty with and without additional safeguards, and (3) any countervailing

          12       interests. 424 U.S. 319, 334-35 (1976). Each factor weighs in favor of Plaintiffs here. First, there can

          13       be no dispute that Plaintiffs have grave liberty interests in freedom from imprisonment and in family

          14       unity. See Reno v. Flores, 507 U.S. 292, 316 (1993) (“a child’s constitutional freedom from bodily

          15       restraint is no narrower than an adult’s”) (internal quotation and citation omitted); Beltran v. Cardall,

          16       222 F. Supp. 3d 476, 481-82 (E.D. Va. 2016) (recognizing Fifth Amendment right to family integrity);

          17       Am. Pet., Dkt. 31, ¶¶ 62, 82, 93.

          18              Second, Defendants argue that their current procedures are sufficient to avoid erroneous

          19       deprivation of the Named Children’s liberty. See Gov. MTD, Dkt. 54, at 2-5, 17. But the Petition

          20       alleges serious deficiencies in these procedures. Among other problems, ORR places UCs in highly

          21       restrictive settings based on ICE’s unsupported and unspecific allegations of gang affiliation and does

          22       not provide the youth (or their sponsor or counsel) notice of the charges, the evidence relied upon, or

          23       an opportunity to rebut that evidence. See id., ¶¶ 46, 50, 57-60, 71-74, 76-77, 89, 107; see also TRO,

          24       Dkt. 7, at 10-12.10 ORR’s initial review is a 30-day “step-down” process that is entirely unilateral, and

          25
                   10
          26         The Government asks why the bond hearings that have recently become available to youth in ORR
                   custody do not satisfy due process. See Gov. MTD, Dkt. 54, at 17-18, citing Flores, 862 F.3d 863. On
          27       a motion to dismiss, the parties cannot present evidence on the efficacy or constitutional adequacy of
                   these hearings, but Plaintiffs do address this issue in greater detail in their preliminary injunction
          28       motion, infra at IV(A)(2)(a).
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 38 of 66



            1      again provides no meaningful notice or opportunity to be heard. See Am. Pet., Dkt. 31, ¶ 61; Corkery

            2      Dec., Ex. A (ORR Rules), § 1.4.2; cf. Schall v. Martin, 467 U.S. 253, 263 (1984) (upholding “brief

            3      pretrial detention based on a finding of a ‘serious risk’ that [a] juvenile may commit a crime,”

            4      including, inter alia, formal charges and probable cause hearings) (emphasis added). Similarly, in

            5      ORR’s “reunification process,” families are not provided the information or evidence upon which

            6      ORR bases its custody decisions, nor an opportunity to be heard by a neutral decisionmaker. See

            7      Beltran, 222 F. Supp. 3d at 485 (holding that “this manner of process is inadequate”).

            8               Third, the Government’s only asserted countervailing interests are “preserving the public

            9      welfare,” and protecting the children in its care. See Gov. MTD, Dkt. 54, at 18. But the Government

          10       does not explain how providing the youth in ORR custody with notice and an opportunity to be heard

          11       would interfere with or undermine either of these interests. Indeed, the adoption of safeguards to

          12       ensure compliance with the governing law serves the Government’s own interest in “accurate and just

          13       results.” Lassiter v. Dep’t of Soc. Servs. of Durham Cnty., 452 U.S. 18, 28 (1981).11 Given Plaintiffs’

          14       weighty liberty interests, the insufficiency of the existing procedural protections, and the

          15       Government’s own interests in the welfare of youth, Plaintiffs have stated a procedural due process

          16       claim.

          17                The Amended Petition separately alleges that Defendants’ conduct violates the TVPRA. Am.

          18       Pet., Dkt. 31, ¶¶ 26-30, 60-61, 128. As this Court stated, the TVPRA requires “adequate consideration

          19       to whether [a juvenile] should be placed into . . . a secure facility,” and demands that ORR “had an

          20       obligation to investigate the information it” receives in making placement determinations. See Corkery

          21       Dec., Ex. B, at 87:9-88:2, 88:9-13 (“ORR had an obligation under the statute . . . to make sure that the

          22       child should be in custody and . . . that being in a secure facility was the least restrictive setting that is

          23       in the best interests of the child.”). The Court’s conclusion is plainly correct. Here, Defendants have

          24
                   11
                     The Government cites Schall v. Martin to support its “parens patriae interest in protecting children
          25       from the consequences of their own bad decisions.” Gov. MTD, Dkt. 54, at 18. But Schall upheld
                   pretrial detention of juveniles based on a series of exacting procedural protections, including notice of
          26       the charges through “nonhearsay allegations,” a prompt preliminary hearing, and a “formal,
                   adversarial probable cause hearing” where the juvenile had counsel. Id. at 277. The Government has
          27       afforded nothing even close to that to the Named Children, who have now been detained for months
                   as a result of its actions. See Am. Pet., Dkt. 31, ¶¶ 68, 80 (A.H. in custody since June 12), ¶¶ 88, 93
          28       (F.E. in custody since June 16); ¶¶ 100, 107 (J.G. in custody since June 16).
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 39 of 66



            1      given no “adequate consideration” of the child’s appropriate placement. ORR merely acceded to ICE’s

            2      directive that the Named Children be placed in a secure facility, without conducting the TVPRA’s

            3      required “determination.” See Am. Pet., Dkt. 31, ¶¶ 55-57. Similarly, in order to implement the

            4      TVPRA’s “[s]afety and suitability” assessments in accordance with due process, ORR must provide a

            5      process before children can be taken away from their parents. See 8 U.S.C. § 1232(c)(3). As the

            6      Petition alleges, see Am. Pet., Dkt. 31, ¶¶ 60-61, and multiple courts have found, ORR’s existing

            7      procedures are wholly insufficient. See Beltran, 222 F. Supp. 3d at 487; Santos, 2017 WL 2389722,

            8      at *12.

            9                               b.     That Some Plaintiffs Were “Apprehended at the Border” Does Not
                                                   Deprive Them of Protection Against Unlawful Incarceration
          10

          11                 Similarly flawed is the Government’s assertion that children who are “apprehended shortly after

          12       arriving at the border” can be detained without any procedural recourse. Gov. MTD, Dkt. 54, at 15.

          13       First, the Fifth Amendment states: “No person shall . . . be deprived of life, liberty, or property, without

          14       due process of law . . . .” U.S. Const., amend. V. “Freedom from imprisonment—from government

          15       custody, detention, or other forms of physical restraint—lies at the heart of the liberty [the Due Process]

          16       Clause protects.” Zadvydas v. Davis, 533 U.S. 678, 690 (2001) (citation omitted). Even assuming that

          17       the Due Process Clause draws some distinction between noncitizens “identified at the border” and those

          18       not, almost all the Government’s cases address a noncitizen’s rights to certain procedures concerning

          19       her exclusion or admission. See, e.g., Angov v. Lynch, 788 F.3d 893, 898 (9th Cir. 2015); United States

          20       v. Peralta-Sanchez, 847 F.3d 1124, vacated on reh’g, 868 F.3d 852 (9th Cir. 2017).12 In contrast, this

          21       case concerns the right to be free from unlawful incarceration, which all Plaintiffs retain. See Rosales-

          22       Garcia v. Holland, 322 F. 3d 386, 413-15 (6th Cir. 2003) (en banc) (noncitizens stopped at border had

          23       due process rights against indefinite detention); see also Kwai Fun Wong v. United States, 373 F.3d

          24       12
                      Shaughnessy v. United States ex rel. Mezei, 345 U.S. 206, 208-09 (1953) addressed the unique
          25       context of an adult noncitizen detained based on secret evidence and national security reasons, and
                   subsequent courts have questioned its validity in light of intervening law. See, e.g., Rosales-Garcia v.
          26       Holland, 322 F. 3d 386, 413-15 (6th Cir. 2003) (holding that Mezei has been “fatally undermined” by
                   subsequent precedent). Landon v. Plasencia, 459 U.S. 21, 32 (1982) extended, and did not contract,
          27       due process protection to certain noncitizens stopped at the border. And United States v. Verdugo–
                   Urquidez, 494 U.S. 259, 271 (1990) and Johnson v. Eisentrager, 339 U.S. 763, 770 (1950) addressed
          28       the constitutional rights of noncitizens outside United States territory.
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 40 of 66



            1      952, 972-73 (9th Cir. 2004) (“non-admitted [noncitizens] living . . . in the American community . . . are

            2      undeniably ‘persons’ entitled to constitutional protection”); Lynch v. Cannatella, 810 F.2d 1363, 1373–

            3      73 (5th Cir. 1987) (recognizing rights of arriving noncitizens “to be free of gross physical abuse at the

            4      hands of [government] officials”). Moreover, all of the Government’s cited cases address adults, not

            5      juveniles, and the law frequently adopts more protective rules for children, see, e.g., J.D.B. v. N.C., 564

            6      U.S. 261, 272-73 (2011). The Government “[has] not identified any case holding that an excludable

            7      [noncitizen] minor . . . has no constitutional right . . . to determine whether he should be released to his

            8      parent.” Santos, 2017 WL 2389722, at *9.

            9             Second, all of the Named Children were apprehended after entering the United States. See Am.

          10       Pet., Dkt. 31, ¶¶ 64, 83, 95.13 Under Ninth Circuit law, all such individuals are “entitled to the

          11       protection of the Due Process Clause.” United States v. Raya-Vaca, 771 F.3d 1195, 1202 (9th Cir.

          12       2014) (“Even an alien who has run some fifty yards into the United States” can claim Due Process

          13       protection”); see also Mathews v. Diaz, 426 U.S. 67, 77 (1976) (Fifth Amendment applies to those

          14       “whose presence . . . is unlawful, involuntary, or transitory”).14

          15              Third, it is undisputed that Plaintiffs are entitled to statutory protection under the TVPRA. See

          16       Gov. MTD, Dkt. 54, at 16. The TVPRA applies to all unaccompanied children in ORR custody,

          17       whether they have been “apprehended shortly after arrival” or have lived here for years. See 8 U.S.C.

          18       §§ 1232(c)(2)-(3); 6 U.S.C. § 279(g)(2). The TVPRA must be construed in light of the due process

          19       rights of all minors it covers, even assuming that the detention of certain minors would raise no

          20       constitutional concerns. See Clark v. Martinez, 543 U.S. 371, 380 (2005) (courts should “give statute’s

          21       ambiguous language a limiting construction called for by one of the statute’s applications, even though

          22       other of the statute’s applications . . . would not support the same limitation”); Nadarajah v. Gonzales,

          23
                   13
                      To the extent this argument relies on facts outside the Petition, Plaintiffs request leave to amend in
          24       order to plead the relevant allegations, which are submitted in support of Plaintiffs’ preliminary
                   injunction motion. See Corkery Dec., Ex. E (HHS), at 41-42, 48-51 (A.H. I-213); Corkery Dec., Ex.
          25       G (ICE), at 308-11 (F.E. I-213); F.E. Dec. ¶ 4; Corkery Dec., Ex. M (J.G. I-213), at 1-4; J.G. Dec. ¶
                   5.
                   14
          26          Castro v. Department of Homeland Security, 835 F.3d 422 (3d Cir. 2016), found that certain
                   noncitizens who recently entered the country could not challenge their removal orders under the
          27       Suspension Clause. Regardless of whether Castro was decided correctly, this Court must adhere to
                   Raya-Vaca. And even Castro recognized that recently-entered noncitizens can raise Due Process
          28       challenges to their confinement. 835 F.3d at 449 n.32.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 41 of 66



            1      443 F.3d 1069, 1077 (9th Cir. 2006).

            2                      3.      Claim 3 – Excessive Restraint of Liberty
            3              The Amended Petition states a claim that the Named Children’s original secure placement and

            4      ongoing detention violate the TVPRA’s requirement that youth be placed in the “least restrictive

            5      setting that is in the best interest of the child” and the Fifth Amendment’s restrictions on confinement

            6      that is excessive in relation to its purpose. 8 U.S.C. § 1232(c)(2)(A); Jones v. Blanas, 393 F.3d 918,

            7      933-34 (9th Cir. 2004). ORR previously found that releasing all Petitioners to their sponsors would

            8      serve their “best interests.” See Am. Pet., Dkt. 31, ¶¶ 64, 83, 95. Since then, Petitioners have lived in

            9      their local communities—sometimes for years. Id. None of the Named Children poses a danger to

          10       himself or others or has a serious criminal history that would support placement in a secure facility.

          11       Id., ¶¶ 69, 86-87, 96. Yet, each was placed in the most secure possible setting and denied release, and

          12       has spent more than three months in a secure or staff-secure setting based on unfounded and false gang

          13       allegations. Id., ¶¶ 81, 93, 101. Plaintiffs have therefore stated a claim for excessive restraint of liberty

          14       under both the Fifth Amendment and the TVPRA. Indeed, the Government’s Motion fails to address

          15       Plaintiffs’ statutory claim at all.

          16               Contrary to the Government’s assertion, Reno v. Flores does not govern here. In Reno, the

          17       Supreme Court upheld the custodial confinement of noncitizen children where they sought release to

          18       adults who were not their parents, legal guardians, and close relatives. See Reno, 507 U.S. at 300-06.

          19       The Court also stated that “freedom from physical restraint” was not at issue because the facilities

          20       there were “open” settings like shelters and group homes, rather than secure, jail-like detention

          21       facilities. 507 U.S. at 298, 302. Here, both the right to reunification with close family members and

          22       the right to be free from secure detention are at issue. The Named Children, and the class they seek to

          23       represent, have been put into highly-restrictive facilities that have “secure perimeter[s]” and

          24       “procedures typically associated with correctional facilities.” See Am. Pet., Dkt. 31, ¶ 28 (quoting

          25       ORR Guide § 1.2.4); see also id., ¶¶ 10, 12, 14, 40-63. In addition, unlike the plaintiffs in Reno v.

          26       Flores, Plaintiffs here seek release of the Named Children to their parents, who were previously

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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 42 of 66



            1      deemed appropriate custodians by ORR. See id., ¶¶ 30, 64-65, 78-83, 95.15

            2                     4.      Claim 4 – Violations of the Flores Decree

            3             The Named Children’s custody similarly violates the Flores Decree.16 Paragraph 24B of the

            4      Decree provides that any “minor who disagrees with [the Government’s] determination to place that

            5      minor in a particular type of facility” may seek judicial review in any court with jurisdiction and venue.

            6      Flores Decree, Dkt. 54-2, ¶ 24B; Flores v. Lynch, 828 F.3d 898, 903 (9th Cir. 2016) (“The Settlement

            7      . . . allows individual challenges to placement or detention conditions to be brought in any district

            8      court with jurisdiction and venue.”) (citation omitted); Bunikyte ex rel. Bunikiene v. Chertoff, No. 07-

            9      cv-0164, 2007 WL 1074070 (W.D. Tex. Apr. 9, 2007). The Decree provides for “abuse of discretion”

          10       review “for the [Government’s] exercise of its discretion, and de novo review over “all other matters.”

          11       Flores Decree, Dkt. 54-2, ¶ 24C.

          12              As the Petition states, the Government committed numerous errors in placing the Named

          13       Children in Secure Facilities, including by misapplying the governing legal standards. See Am. Pet.,

          14       Dkt. 31, ¶¶ 142-44. Those violations include failing to place the minor “in the least restrictive setting

          15       appropriate to the minor’s age and special needs,” and failing to adhere to the provisions requiring

          16       release of a minor to his parent absent concerns about the minor’s likelihood of appearing for

          17       immigration court hearings or safety. Id., ¶ 144(a)-(b) (citing Paragraphs 11 and 14). The Petition also

          18       alleges the Government’s failure to notify the Named Children’s existing counsel before transferring

          19       them to faraway Secure Facilities. Id., ¶ 144(c) (citing Paragraph 27). Accordingly, the Petition plainly

          20       states that Named Children’s custodial placements “abused [the Government’s] discretion,” See Gov.

          21       MTD, Dkt. 54, at 21, including by flouting the Decree’s legal requirements concerning their eligibility

          22       for secure custody. See Owino v. Holder, 771 F.3d 527, 532 (9th Cir. 2014) (finding that agency

          23       decision “based on legal error” constituted abuse of discretion).

          24       15
                      The Government suggests that because Plaintiffs have not disputed that they are classified as
                   “unaccompanied children” under the statute, their liberty interests are somehow weaker. See Gov.
          25       MTD, Dkt. 54, at 19 n.7. The Named Children’s statutory classification, however, cannot alter the fact
                   Defendants’ conduct is intruding on their fundamental liberty interest in reunifying with their parents
          26       and family members.
                   16
          27          To be clear, only the individual Named Children assert claims pursuant to Paragraph 24B of the
                   Flores Decree. See Am. Pet., Dkt. 31, ¶ 32; see also Gov. MTD, Dkt. 54, at 20-21. They do not seek
          28       to raise those claims on behalf of the Proposed Class.
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 43 of 66



            1             Instead of defending the Named Children’s Flores claims on the merits, the Government raises

            2      a series of flawed procedural defenses. It states that the Decree does not waive sovereign immunity

            3      and that violations of the Decree cannot be asserted in habeas. See Gov. MTD, Dkt. 54, 20-21 n.9. But

            4      in the same breath, the Government agrees that Plaintiffs’ Flores claims can be raised under the APA.

            5      Id. at 20; see also 5 U.S.C. § 701, et seq. Because this Court’s authority to hear Plaintiffs’ Flores

            6      claims is undisputed, the Government’s jurisdictional contentions need not be addressed. In any event,

            7      the Government is wrong. Habeas is available to any petitioner who alleges that “[h]e is in custody in

            8      violation of the Constitution or laws. . . .” 28 U.S.C. § 2241(c)(3). The Government does not dispute

            9      that the Flores Decree imposes binding legal obligations as to the treatment of immigrant children,

          10       and habeas is available to test violations of them.17

          11                      5.      Claim 6 – Unlawful Denial of Benefits
          12              The First Amendment right to petition and the Due Process Clause of the Fifth Amendment

          13       protect the right to pursue legal claims through the courts, and the right to apply for government

          14       benefits and services. See Silva v. Di Vittorio, 658 F.3d 1090, 1102 (9th Cir. 2011), overruled on other

          15       grounds as stated by Richey v. Dahne, 807 F.3d 1202, 1209 n.6 (9th Cir. 2015); Friedl v. City of N.Y.,

          16       210 F.3d 79, 87 (2d. Cir. 2000). Also, due process and the APA require that government agencies

          17       fairly process applications for government benefits. See Griffeth v. Detrich, 603 F.2d 118, 119-20 (9th

          18       Cir. 1979) (property interest in relief required constitutionally fair application process); Mallette v.

          19       Arlington Cty. Emps.’ Suppl. Ret. Sys. II, 91 F.3d 630, 636-40 (4th Cir. 1996) (due process required

          20       for applications for disability retirement benefits); 5 U.S.C. § 706. Plaintiffs have stated a claim for

          21       relief under both theories.

          22              First, the right to petition encompasses access to the courts. In the prisoner context, the Ninth

          23

          24       17
                      The Government cites Gutierrez-Chavez v. INS, but that court recognized that jurisdiction would
                   remain over claims of a “failure to exercise discretion or manifest injustice.” 337 F.3d 1023, 1024 (9th
          25       Cir. 2003) (amending opinion). Here, the Named Children assert that the Government violated its legal
                   obligations under the Decree, not merely that it abused its discretion. Nor is it true that habeas is
          26       restricted to violations of “constitutional and statutory law,” since habeas courts have long reviewed
                   claims that the Government has violated other sources of law, like regulations. See, e.g., U.S. ex rel.
          27       Accardi v. Shaughnessy, 347 U.S. 260, 268 (1954) (finding that habeas petitioner had stated claim for
                   relief based on Government’s violations of its “existing valid regulations”).
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 44 of 66



            1      Circuit has recognized that Plaintiffs have “the right to litigate without active interference.” Blaisdel

            2      v. Frappiea, 729 F.3d 1237, 1243 (9th Cir. 2013) (internal quotation and citation omitted). Plaintiffs

            3      allege that Defendants’ custody decisions interfere with their ongoing legal proceedings, which

            4      include ongoing removal proceedings, and state family court proceedings that are necessary predicates

            5      for their applications for Special Immigrant Juvenile (SIJ) status. See Am. Pet., Dkt. 31, ¶¶ 63, 66,

            6      154; 8 U.S.C. §§ 1101(a)(27)(J) (SIJ eligibility factors).18

            7             Defendants say that videoconferencing, venue transfers, or physical transportation of the

            8      Plaintiffs would cure any problems their transfers caused. See Defs. Opp. to TRO, Dkt. 15, at 13-15.

            9      But these measures cannot ameliorate the deficiencies caused by Plaintiffs’ inability to appear in

          10       person with their retained counsel. Cf. Rapheal v. Mukasey, 533 F.3d 521, 532-33 (7th Cir. 2008)

          11       (finding violation of fair hearing right where petitioner could not review key documents undermining

          12       her credibility during videoconference hearing). Moreover, Defendants’ argument relies on disputed

          13       facts that cannot be resolved on a motion to dismiss, see Gov. MTD, Dkt. 54, at 24, n.12, like the

          14       Plaintiffs’ understanding of and ability to participate in remote proceedings (particularly via

          15       interpreters), and whether certain state courts even permit remote participation.

          16              Second, Plaintiffs allege that the Government has impeded Plaintiffs’ efforts to obtain

          17       immigration benefits based on their alleged gang membership, notwithstanding Defendants’ lack of

          18       reliable evidence to support these allegations. See Am. Pet., Dkt. 31, ¶¶ 63, 81; id. ¶ 94 (notice of

          19       intent to revoke F.E.’s previously issued SIJ approval); id. ¶ 103 (deeming J.G. inadmissible for U-

          20       visa based on being “confirmed member of [MS-13]”). This violates the Due Process Clause and the

          21       APA. See id. ¶ 33. Laws creating an entitlement to a particular governmental benefit create a liberty

          22       or property interest protected by due process. See, e.g., Goldberg v. Kelly, 397 U.S. 254, 262 (1970).

          23       The Named Plaintiffs and other Sponsored UCs are statutorily eligible for several forms of

          24       immigration benefits and relief.19 See, e.g., Am. Pet., Dkt. 31, ¶ 66 (A.H. eligibility for SIJ). These

          25       18
                      A.H.’s original Petition included specific allegations detailing how Defendant’s arrest and transfer
          26       of A.H. to Yolo interfered with his state court hearing. See Pet., Dkt. 1, ¶¶ 23, 24, 47. These allegations
                   were inadvertently omitted from the Amended Petition, but Plaintiffs will reallege these facts in an
                   amended petition if necessary.
          27       19
                      See, e.g., 8 U.S.C. § 1101(a)(27)(J) (statute setting forth SIJ requirements); 8 C.F.R. § 204.11
          28       (governing application for SIJ status).
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                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 45 of 66



            1      forms of status or relief are benefits in themselves, and have other important legal consequences,

            2      regardless of whether they ultimately lead to lawful permanent residency or citizenship. See Garcia v.

            3      Holder, 659 F.3d 1261, 1272 (9th Cir. 2011) (SIJ parole qualifies as “admission” for purposes of

            4      establishing eligibility for cancellation of removal).

            5              The APA also bars Defendants from using false accusations of gang affiliation to deny

            6      applications for relief. 5 U.S.C. § 706. An agency must “examine the relevant data and articulate a

            7      satisfactory explanation for its action,” which must include “a rational connection [to] the facts.” Sears

            8      Sav. Bank v. Fed. Sav. & Loan Ins. Co., 775 F.2d 1028, 1029 (9th Cir. 1985) (citations omitted). The

            9      Amended Petition alleges that DHS recommended denying A.H. any immigration benefits or services

          10       “[i]n light of [his] affiliation to a violent street gang.” See Am. Pet., Dkt. 31, ¶ 81. Plaintiffs also allege

          11       that USCIS has denied relief to the three Named Children based on similar reasons. As Defendants

          12       concede, Plaintiffs have a right to have their applications “processed within the procedures authorized

          13       by Congress.” Gov. MTD, Dkt. 54, at 24. DHS has imposed a new, statutorily unauthorized threshold

          14       to deny benefits or relief based on unproven assertions of gang affiliation, thereby violating the APA

          15       and due process.20 Cf. Zevallos v. Obama, 10 F. Supp. 3d 111, 118 (D.D.C. 2014) (agency designation

          16       of plaintiff as “foreign narcotics trafficker” subject to review under APA); Remmie v. Mabus, 898 F.

          17       Supp. 2d 108, 121 (D.C. Cir. 2012) (holding unlawful agency denial of relief that lacked explanation).

          18       IV.     THE  COURT    SHOULD   PRELIMINARILY    ENJOIN   DEFENDANTS’
                           UNCONSTITUTIONAL AND UNLAWFUL POLICIES AND PRACTICES
          19
                           To obtain a preliminary injunction, a plaintiff must establish (1) “that he is likely to succeed
          20
                   on the merits,” (2) “that he is likely to suffer irreparable harm in the absence of preliminary relief,”
          21
                   (3) “that the balance of equities tips in his favor,” and (4) “that an injunction is in the public interest.”
          22
                   Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Courts evaluate these factors on a
          23
                   “sliding scale.” Arc of Cal. v. Douglas, 757 F.3d 975, 983 (9th Cir. 2014) (internal quotations and
          24

          25       20
                     None of Defendants’ cases say otherwise. See Gov. MTD, Dkt. 54, at 24-25 (citing, e.g., U.S. ex rel.
                   Knauff v. Shaughnessy, 338 U.S. 537, 542-44 (1950) (denying entry based on Congressional
          26       delegation of discretion to executive did not violate due process); Dielmann v. INS, 34 F.3d 851, 853
                   (9th Cir. 1994) (denial of motion to reopen deportation order based on subsequent marriage was
          27       properly based on agency policy); Kumar v. Gonzalez, No. 06-cv-1805, 2007 WL 174089 (W.D.
                   Wash. Jan. 17, 2007) (denial of requests to reopen or stay removal order based on pending application
          28       for asylum was in accordance with agency policy)).
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 46 of 66



            1      citation omitted). Thus, a “stronger showing of irreparable harm to plaintiff might offset a lesser

            2      showing of likelihood of success on the merits.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127,

            3      1131 (9th Cir. 2011). Regardless, “the moving party [must] demonstrate a fair chance of success on

            4      the merits or questions serious enough to require litigation.” Arc of Cal., 757 F.3d at 993-94 (internal

            5      quotations and citation omitted).

            6             All four factors are readily satisfied here. Plaintiffs are likely to succeed on the merits of the

            7      claims for which they seek preliminary relief:21 unlawful arrest (Claim 1); deprivation of liberty

            8      without procedural due process (Claim 2); excessive restraint on liberty (Claim 3); and violations of

            9      the Flores Decree (Claim 4). The Plaintiffs have suffered and—unless Defendants are enjoined—will

          10       continue to suffer irreparable harm as a result of Defendants’ violations of their rights, including

          11       psychological and emotional trauma as a result of their confinement. The equities tip sharply in favor

          12       of the requested relief, which would simply restore the Named Children’s liberty and put procedural

          13       safeguards in place to allow other Sponsored UCs due process and protect against future constitutional

          14       violations, at little cost to Defendants. Similarly, the public interest weighs heavily in favor of an order

          15       upholding the protections of the Constitution and federal law.

          16               As a result, Plaintiffs respectfully request that the Court issue a preliminary injunction that: (1)

          17       prohibits Defendants from future unlawful rearrests of Proposed Class members; (2) prohibits

          18       Defendants from detaining and transferring Proposed Class members to secure or staff secure facilities

          19       based on gang allegations, without providing them adequate procedural safeguards—including

          20       immediate notice and prompt, adversarial hearings where the Government bears the burden of proof;

          21       and (3) orders such hearings for any class members already in custody (other than the Named Children,

          22       who have already made a showing that they should be released).

          23

          24

          25
                   21
          26          Plaintiffs seek classwide relief on Claims 1 (false arrest) and 2 (procedural due process) for the
                   entire Proposed Class, as well as the release of the individual Named Children under Claims 3
          27       (excessive restraint of liberty) and 4 (Flores Decree). At this time, Plaintiffs do not seek preliminary
                   relief for Claim 6 (Denial of Benefits). Plaintiffs reserve the right to bring claims for preliminary
          28       and/or permanent relief on all claims at a later date.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 47 of 66



            1             A.      Plaintiffs Are Likely to Succeed on the Merits of Their Claims

            2                     1.      Claim 1 – Unlawful Arrest

            3             Plaintiffs are likely to succeed on their claim that Defendants DHS and ICE violated the Fourth

            4      Amendment and the TVPRA by re-arresting the Named Children based on their pre-existing

            5      removability and/or unsubstantiated allegations of gang affiliation. “[T]he ultimate touchstone of the

            6      Fourth Amendment is ‘reasonableness.’” Riley v. California, 134 S.Ct. 2473, 2482 (2014) (citation

            7      omitted). This Amendment’s “basic purpose . . . is to safeguard the privacy and security of individuals

            8      against arbitrary invasions by governmental officials.” Camara v. Mun. Ct., 387 U.S. 523, 528 (1967).

            9      In assessing reasonableness, courts balance the “nature and quality of the intrusion on the individual’s

          10       Fourth Amendment interests against the countervailing governmental interests at stake.” Graham v.

          11       Connor, 490 U.S. 386, 394-95 (1989) (internal quotation and citation omitted).

          12              As discussed in Section III.C.1, supra, Plaintiffs cannot be re-arrested based on charges of

          13       removability that have not changed since they were first released from ORR custody, lest they be

          14       subject to “harassment by continual rearrests” purportedly “justified by the continuing existence of

          15       ‘probable cause.’” Holmes, 452 F.2d at 260-61. The evidentiary record, as well as Defendants’ Motion,

          16       only confirm that the Named Children’s preexisting charges of removability were the only stated

          17       grounds for their most recent arrests by ICE, see Nanos Dec., Ex. 5 (J.G.); see also Loechner Dec.,

          18       Dkt. 15-1, at 4 (A.H.), as well as the only factual ground supported by reliable evidence, see Cruz Dec.

          19       ¶¶ 34, 39, 46. Each of the Named Children had been cared for by his sponsor since ORR released him,

          20       and none has a criminal history or any other factor that suggests that he poses a danger or harm to

          21       himself or others or a flight risk. See Saravia Dec., Dkt. 9, ¶¶ 2-4; A.H. Dec., Dkt. 8, ¶¶ 4-6; Gibbs

          22       Dec., Dkt 10, ¶¶ 12-18, Exs. 8-11; F.E. Dec. ¶¶ 6-12; M.U. Dec. ¶ 2; Gomez Dec. ¶¶ 2-5, Ex. 1; J.G.

          23       Dec. ¶ 11. For both F.E. and J.G., ORR

          24                                                  . See Nanos Dec., Exs. 7-8; see also Corkery Dec., Ex. E

          25       (HHS), at 2551-56.

          26              To the extent that Defendants now claim—contrary to the language of their own arrest

          27       warrants—that the Named Children’s and Proposed Class members’ re-arrests are justified based on

          28       alleged gang affiliation, the Fourth Amendment would still require probable cause to support those
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 48 of 66



            1      allegations. There is no reliable evidence of actual gang affiliation for any of the Named Children and,

            2      accordingly, there was no probable cause to support their arrest based on such allegations. See Cruz

            3      Dec. ¶¶ 34, 39, 46; Grant v. City of Long Beach, 315 F.3d 1081, 1091 (9th Cir. 2002) (probable cause

            4      turns on “information that the officers had at the time of [] arrest”). The “indicia” of gang membership

            5      or affiliation relied upon as to the Named Children are poor indicators of gang membership or

            6      affiliation. Cruz Dec. ¶¶ 28-46; see also Corkery Dec., Ex. C (RFA Resp.), at 2-3; Corkery Dec., Ex.

            7      D (Supp. RFA Resp.), at 2.

            8             It is well-established that laws and practices must place “sufficiently specific limits on the

            9      enforcement discretion of the police to meet constitutional standards for definiteness and clarity.” City

          10       of Chicago v. Morales, 527 U.S. 41, 64 (1999) (plurality opinion) (internal quotation and citation

          11       omitted). Thus, even if active gang participation were sufficient to justify the re-arrest of Sponsored

          12       UCs, the specific indicia applied by ICE fail these standards.22 Similarly, it is clear that when ICE

          13       arrested the Named Children, they lacked probable cause to believe that they were actually associated

          14       with MS-13. See Torres v. City of L.A., 548 F.3d 1197, 1209, 1212 (9th Cir. 2008) (upholding jury’s

          15       conclusion that police lacked probable cause to detain alleged gang member suspected of association

          16       with murder, in part because police lacked “direct evidence that [the suspect] was a member of a

          17       gang”); see also Corkery Dec., Ex. I (Sini Test.), at 11 (noting that DHS uses “its immigration

          18       enforcement tools” in cases “when [ORR is] not able to effectuate a criminal arrest”).

          19                      2.      Claim 2 – Deprivation of Liberty without Due Process
          20                              a.      Defendants’ Practices Violate Procedural Due Process
          21              The evidence procured by Plaintiffs in expedited discovery shows that Plaintiffs are also likely

          22       to succeed on the merits of their claim that Defendants’ practices violate procedural due process and

          23       the TVPRA. See Mathews v. Eldridge, 424 U.S. at 334-35.

          24              Private interests at stake. There can be no dispute that all children in this case have a “core

          25
                   22
          26          Simple association with a gang, without evidence of underlying criminal conduct with a nexus to
                   said gang, is not illegal, and deprivations of liberty based on gang membership—such as sentencing
          27       enhancements—generally require specific proof of intent, participation and criminal conduct. See 18
                   U.S.C. § 521(d) (requiring knowledge of, or engagement in, violent or drug-related offenses of gang,
          28       intent to promote interests of gang, and conviction in past 5 years of drug-related or violent crime).
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 49 of 66



            1      liberty interest” in their freedom from incarceration. Reno, 507 U.S. at 315 (O’Connor J., concurring).

            2      Because Defendants place Sponsored UCs with alleged gang affiliations in secure facilities, their

            3      confinement is in restrictive, jail-like facilities. See A.H. Dec., Dkt. 8, ¶¶ 19-20 (describing restrictions

            4      on freedom at Yolo); F.E. Dec. ¶¶ 15-18; J.G. Dec. ¶ 22; White Dec. ¶¶ 3-4, Ex. 1. The Named

            5      Children and their family members also have a Fifth Amendment right to family integrity, which is

            6      “perhaps the oldest of the fundamental liberty interests recognized by the Supreme Court.” Beltran,

            7      222 F. Supp. 3d at 481-82 (quotation and citations omitted). “[A] parent's desire for and right to the

            8      companionship, care, custody and management of his or her children . . . undeniably warrants

            9      deference and, absent a powerful countervailing interest, protection.”); Lassiter, 452 U.S. at 27-28

          10       (citation omitted); see also Santos, 2017 WL 2389722, at *11 (“both a restraint of liberty and a

          11       continued separation of a child from a parent require” that government bear burden of proof).

          12               Risk of erroneous deprivation. As explained above, Section III(C)(2), supra, ORR’s existing

          13       procedures —including the “step down” process on which Defendants so heavily rely—suffer from

          14       numerous defects. See TRO, Dkt. 7, at 10-12. The evidence only confirms this conclusion. For

          15       example, ORR’s own placement tool—which it uses to “determine the initial placement of [UCs],”

          16       see Corkery Dec., Ex. A (ORR Rules), § 1.4.2—indicated that J.G. and F.E. should be placed in non-

          17       secure shelters, not secure facilities, yet ORR

          18                                                     . See Nanos Dec., Exs. 7-8; see also Corkery Dec., Ex. E

          19       (HHS), at 2551-56. Testimony from an ORR official confirmed that it is ORR’s practice to rely on

          20       ICE information, and not to review or test that information, to make custody determinations. See

          21       Corkery Dec. Ex. B, at 53:16-21. For A.H., the decision was made based on both gang allegations and

          22       incorrect information provided by ICE regarding his juvenile record. Corkery Dec. Ex. B., at 46:23-

          23       49:6. The lack of notice and an opportunity to contest ORR’s grounds for detention, either before or

          24       after the detention commences, create a substantial risk of erroneous deprivation of liberty.

          25               The record demonstrates that Defendants’ placement decisions were riddled with error. Indeed,

          26       Yolo made various efforts to verify gang affiliation for J.G., A.H. and many other children, yet no

          27       such evidence was available from ICE or SCPD. See Corkery Dec., Ex. C (RFA Resp.), at 2-3; see

          28       also Corkery Dec., Ex. D (Supp. RFA Resp.), at 2. What is more, Defendants’ existing methods of
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                                                                      34.
 SAN FRANCISCO                                                                                   CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 50 of 66



            1      “determining” whether the Named Children and Proposed Class members are gang members suffers

            2      from numerous defects, including failing to corroborate evidence with specific details, and failing to

            3      differentiate between cultural differences and emulating media, on the one hand, and gang affiliation,

            4      on the other. See Cruz Dec. ¶¶ 1-13, 17-23, 29-31, 36-37, 41-43; see also K.A. Dec. ¶¶ 20-21; Corkery

            5      Dec., Ex. F (YOLO), at 16, 22.

            6                                             . See, e.g., Cruz Dec. ¶ 48.

            7             The risk of error in this process is particularly high given the nature of Defendants’ allegations.

            8      As the Ninth Circuit has explained, “[d]etermining whether an individual is an active gang member

            9      presents a considerable risk of error” due to “[t]he informal,” “fleeting” nature of gang membership,

          10       and “lack of objective criteria” used to show membership. Vazquez v. Rackauckas, 734 F.3d 1025,

          11       1046 (9th Cir. 2013).23 These factors “heighten the need for careful factfinding.” Id. The testimony of

          12       ORR’s own officials shows that ORR’s procedures are far from “careful.” See Corkery Dec., Ex. B,

          13       at 53:16-21. In fact, one Defendant has already admitted that ORR frequently makes erroneous gang

          14       membership determinations based on unreliable or nonexistent evidence that cannot be verified. See

          15       Corkery Dec., Ex. C (RFA Resp.), at 2-3; see also Corkery Dec., Ex. D (Supp. RFA Resp.), at 2.

          16              Likewise, ORR’s processes for determining the fitness of Named Children’s custodians are

          17       similarly insufficient, and courts have criticized those processes as “opaque,” Beltran, 222 F. Supp.

          18       3d at 485, and “extremely troubling,” Santos, 2017 WL 2389722, at *12. Certainly ORR has acted

          19       inconsistently in its conduct of home studies in the cases of the Named Children. Compare Saravia

          20       Supp. Dec. ¶¶ 9-10 (mother told she “failed” home study, but no one would tell her why) with M.U.

          21       Dec. ¶¶ 12, 16 (after home visit, case worker said she would recommend son’s release, but no release

          22       23
                      In light of the “fleeting nature” of gang affiliation and differing levels of involvement, gang
          23       affiliation alone cannot justify such severe intrusions on individual liberty. See e.g. Scales v. United
                   States, 367 U.S. 203, 228 (1961) (criminal liability based on membership in a group engaged in illegal
                   advocacy requires individual “guilty knowledge and intent”); People v. Englebrecht, 88 Cal. App. 4th
          24       1236, 1261 (2001) (subjection to civil gang injunction requires finding that an individual “participates
                   in or acts in concert with an ongoing organization” in a manner that is “more than nominal, passive,
          25       inactive or purely technical”); State v. O.C., 748 So. 2d 945, 950 (Fla. 1999) (statute that “punishes
                   mere association” with gang without nexus to particular crime violates due process); see also Benitez
          26       Ramos v. Holder, 589 F.3d 426, 430 (7th Cir. 2009) (explaining that there is “ambiguity about what
                   constitutes a ‘gang,’” that gangs engage in a “variety of activities, not all criminal,” and that some
          27       gang members’ participation is “innocuous”); Morales, 527 U.S. at 67 (requiring some evidence of
                   “harmful purpose or effect” for law enforcement officials to order gang members to disperse from or
          28       vacate area).
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ATTORNEYS AT LAW
                                                                    35.
 SAN FRANCISCO                                                                                 CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 51 of 66



            1      one month later, and no explanation why).

            2             In addition, Sponsored UCs are deprived of fundamental liberty interests before they have any

            3      notice of, much less a chance to contest, the allegations against them. “In situations where the State

            4      feasibly can provide a predeprivation hearing,” “it generally must do so regardless of the adequacy of

            5      a postdeprivation [] remedy.” Zinermon v. Burch, 494 U.S. 113, 132 (1990). And “the procedures

            6      afforded juveniles detained prior to fact-finding [must] provide sufficient protection against erroneous

            7      and unnecessary deprivations of liberty.” Schall, 467 U.S. at 263 (citing Mathews, 424 U.S. at 335).

            8      Here, Defendants moved the Named Children across the country and separated them from their

            9      families and lawyers, and put them in Secure Facilities before affording them any meaningful process.

          10       Due process requires that they have a meaningful opportunity to confront the evidence against them

          11       before a neutral decision-maker before—or, in exigent circumstances, within a short period after—

          12       tearing youth out of their communities and putting them in secure custody.

          13              Relatedly, while Defendants suggest that a bond hearing per the terms of the Flores Decree

          14       would cure any procedural defects in their UC detention process, see also Am. Pet., Dkt. 31, ¶¶ 17-

          15       18, that claim is undercut by the limitations the Government imposes in that process. Even if, during

          16       such a bond hearing, an immigration judge determines that a child “does not pose a danger to the

          17       community and need not remain in an ORR facility for that reason,” ORR policies state that it can

          18       override that decision and continue to detain the child. See Corkery Dec., Ex. A (ORR Rules), § 2.9;

          19       see also Johnson Dec. ¶ 14; Corkery Dec., Ex. E (HHS), at 4479 (noting that

          20                                                                                        ); Flores, 862 F.3d at

          21       878 (stating that HHS must make “a separate decision . . . with respect to the implementation of the

          22       child’s appropriate care and custody.”). The record shows that ORR has no compunction about

          23                                                                                                         . See

          24       Corkery Dec., Ex. E (HHS), at 1781-84, 2551-53; see also Corkery Dec., Ex. A (ORR Rules), § 2.9.

          25       Because ORR can similarly override a bond hearing determination, an immigration judge cannot order

          26       the relief to which the Named Children are entitled.

          27              Furthermore, in bond hearings, the Government

          28                                                                                               . Corkery Dec.,
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                                                                   36.
 SAN FRANCISCO                                                                                CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 52 of 66



            1      Ex. E (HHS), at 2629. As multiple cases have found, such a procedure cannot satisfy due process

            2      requirements. See Santos, 2017 WL 2389722, at *11-12; Beltran, 222 F. Supp. 3d at 486. And the

            3      Government does not guarantee bond hearings for minors prior to putting them in secure custody and

            4      transferring them far from their families and communities. Such after-the-fact hearings cannot satisfy

            5      due process. See Zinermon, 494 U.S. at 132.

            6             Lack of countervailing interests. Defendants’ countervailing interests cannot overcome

            7      Plaintiffs powerful liberty interests. See Section III.C.3, supra. Indeed, while the Government claims

            8      an interest in the welfare of the Named Children, see Gov. MTD, Dkt. 54, at 18, it defends a juvenile

            9      detention system that appears to be uniquely untrammeled by process. The Government has pointed

          10       to no juvenile welfare system in the country that operates as unilaterally and with such minimal

          11       attention to the grave liberty interests of juveniles and their parents. And, to Plaintiffs’ knowledge,

          12       there is no state in the Ninth Circuit that permits a government to remove a child from the care of his

          13       existing custodian without providing (at a minimum) swift notice to the parent of the bases of the

          14       child’s removal, as well as prompt hearings on the appropriateness of the removal.24 Given the

          15       widespread adoption of such procedures in the states, the Government cannot credibly claim that it is

          16       too burdensome to provide similar safeguards to Sponsored UCs.

          17                              b.      Defendants’ Practices Violate the TVPRA
          18              The TVPRA requires ORR to “promptly” place UCs in the “least restrictive setting that is in

          19       the best interest of the child” and prohibits placement in a secure facility “absent a determination that

          20       the child poses a danger to self or others or has been charged with having committed a criminal

          21       offense.” 8 U.S.C. § 1232(c)(2)(A). While the statute does not describe the precise contours of how

          22       “determinations” must be made, it should be interpreted in such a way as to avoid constitutional

          23       concerns, and in accordance with the Fifth Amendment requirements described above. See, e.g.,

          24
                   24
                      See, e.g., Alaska Stat. Ann. § 47.10.142(c)-(d) (requiring “immediate[]” notice to guardians, petition
          25       filed within 24 hours of assuming custody, and temporary custody hearing within 48 hours of notice);
                   Ariz. Rev. Stat. Ann. § 8-823(A)-(B), § 8-824 (requiring notice to guardian within six hours of
          26       removal, preliminary protective hearing within five to seven days of custody); Cal. Welf. & Inst. Code
                   §§ 307.4, 315 (requiring immediate filing of petition to remove child, detention hearing held “as soon
          27       as possible”); Nev. Rev. Stat. Ann. § 432B.470(1)-(3) (notice within, at maximum, 24 hours; hearing
                   must take place within 72 hours of removal); Wash. Rev. Code Ann. §§ 13.34.065(1)(a), 13.34.062
          28       (notice to parent and shelter care hearing held within 72 hours after state takes custody).
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                                                                    37.
 SAN FRANCISCO                                                                                 CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 53 of 66



            1      Zadvydas, 533 U.S. at 689; Flores-Chavez v. Ashcroft, 362 F.3d 1150, 1153 (9th Cir. 2004) (reading

            2      regulations concerning service of charges on noncitizen children in light of constitutional concerns).

            3      And as this Court rightly concluded, the statute demands an “adequate determination” as to whether a

            4      juvenile “should be placed . . . into a secure facility.” See Corkery Dec., Ex. B., at 87:7-14.

            5             Similarly, in order to implement the TVPRA’s “safety and suitability” assessments in

            6      accordance with due process requirements, ORR must provide some form of adversarial process

            7      before children can be taken away from their parents. See 8 U.S.C. § 1232(c)(3) (requiring HHS to

            8      make suitability assessment of proposed custodian). The fundamental right to family integrity requires

            9      that the burden be on ORR to justify the change in custody; ORR cannot “simply require [the]

          10       Petitioner[s] to change the agency’s mind.” Beltran, 222 F. Supp. 3d at 486; Santos, 2017 WL

          11       2389722, at *12 (“[W]hen a parent is requesting reunification, the burden should be on ORR to show

          12       why its continued custody of a U[]C is appropriate, rather than placing that burden on the parent.”);

          13       see also Santosky v. Kramer, 455 U.S. 745, 746-48 (1982) (due process in parental termination

          14       proceedings requires state to meet burden by “clear and convincing evidence”).

          15              Here, ORR failed to provide the Named Children with the “determination” that the TVPRA

          16       required. Indeed, it failed to provide them with any meaningful determination. Instead, it merely

          17       acceded to ICE’s directive that the Named Children be placed in a secure facility, without conducting

          18       any “determination” of its own, as required by the TVPRA. But the TVPRA does not allow the

          19       Government to “shoot first and ask questions later.”

          20              This Court need look no further than A.H.’s case for evidence of ORR’s failure to conduct any

          21       proper determination as to whether Proposed Class members should be placed in Secure Facilities. At

          22       the TRO hearing, this Court ordered ORR to “careful[ly] check of the accuracy of the information it

          23       received from DHS,” including obtaining police reports and court records, and “contacting the

          24       appropriate local law enforcement officials” for information concerning A.H.’s alleged gang

          25       membership. Tr. 6/29/17, Dkt. 22, at 7:10-17. The Court also directed ORR to provide A.H. an

          26       opportunity to be heard on its detention decision. Id. at 7:18-20. After a telephonic conference on July

          27       7, 2017, ORR filed its response to the Court’s order. See ORR Letter re: A.H., Dkt. 27-1. There, ORR

          28       Director E. Scott Lloyd concluded that ORR’s original decision to place A.H. in secure custody was
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 SAN FRANCISCO                                                                                 CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 54 of 66



            1      correct, even though ORR “cannot answer . . . [w]hether DHS acted beyond its statutory authority . .

            2      . in taking A.H. into custody,” or “determin[e] . . . the veracity of DHS’ original claims regarding gang

            3      affiliation.” Id. at 3. ORR did not state that it had contacted any of the arresting officers from Suffolk

            4      County. Id. ORR asserted that even in the case of a sponsored child, once DHS makes an arrest, “ORR

            5      takes all children referred into custody, regardless of any claim of dangerousness.” Id. As the evidence

            6      now shows,

            7      See, e.g., Corkery Dec., Ex. E (HHS), at 3728-31.

            8                     3.      Claims 3 and 4 – Excessive Restraint on Liberty/Flores Violations
            9             Plaintiffs are also likely to succeed on the merits of their claim for excessive restraint on liberty

          10       in violation of the substantive due process afforded by the Fifth Amendment and the TVPRA and their

          11       claims under the Flores Decree. Under the TVPRA, juveniles must be “promptly placed in the least

          12       restrictive setting that is in the best interest of the child.” 8 U.S.C. 1232(c)(2)(A). In making

          13       placements, ORR can “consider danger to self, danger to the community, and risk of flight.” 8 U.S.C.

          14       1232(c)(2)(A). A juvenile cannot be placed in a secure facility “absent a determination that the child

          15       poses a danger to self or others or has been charged with having committed a criminal offense.” Id.

          16       Similarly, the Fifth Amendment requires that the “terms and conditions of [Plaintiffs’] confinement .

          17       . . are in fact compatible” with the government’s stated purposes. Schall, 467 U.S. at 269. Detention

          18       “excessive in relation to its non-punitive purpose” violates substantive due process. Jones, 393 F.3d

          19       at 933-34 (citations and quotation marks omitted).

          20              The Named Children’s detention in secure or staff secure custody fails all of these standards.

          21       ORR previously found that releasing all Named Children to their sponsors would serve their “best

          22       interests.” Saravia Dec., Dkt. 9, ¶ 2; Gomez Dec. ¶ 3; M.U. Dec. ¶ 2. Since that time, Named Children

          23       have attended their immigration court hearings with the support of their family members, and lived

          24       like normal teenagers in their local communities—sometimes for years. Until their recent arrests,

          25       Defendants never alleged that they posed dangers to themselves or others. See A.H. Dec., Dkt. 8, ¶¶ 4-

          26       5, 23; F.E. Dec. ¶¶ 5-6; J.G. Dec. ¶¶ 6-8.

          27              The Government ostensibly takes the position that the Named Children’s initial placement in

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                                                                     39.
 SAN FRANCISCO                                                                                  CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 55 of 66



            1      secure facilities and ongoing detention is justified by their alleged gang membership.25 See Corkery

            2      Dec., Ex. C (RFA Resp.), at 2-3; Corkery Dec., Ex. D (Supp. RFA Resp.), at 2. But, as the record

            3      shows, there is little to no credible evidence that any of the Named Children are gang members. See

            4      Cruz Dec. ¶¶ 28-49. Indeed, Defendants’ primary evidence of their alleged gang affiliation is

            5      comprised of unreliable multiple-hearsay reports from unidentified law enforcement officers, which

            6      Plaintiffs have had no chance to rebut. Id. ¶¶ 30-31, 36, 41-42. J.G., A.H., and F.E. have all been in

            7      ORR custody for over three months and Defendants have not justified why the Named Children must

            8      remain in custody; to the contrary, evidence produced in expedited discovery supports their release.

            9      See, e.g., F.E. Dec. ¶¶ 19-20 (social workers in two facilities told him they could tell he was not a gang

          10       member).

          11              Defendants have no “legitimate governmental purpose” justifying their continued detention of

          12       the Named Children in custody, much less in staff-secure facilities, rendering their continued restraint

          13       of their liberty “excessive in relation to” the Defendants’ alleged justifications. Schall, 467 U.S. at 269

          14       (internal quotation and citation omitted). Plaintiffs are likely to succeed on the merits of the Third

          15       Claim for Relief.

          16              B.      The Named Children Will Suffer Irreparable Harm in the Absence of an
                                  Injunction
          17

          18              The Named Children and Proposed Class will undoubtedly suffer irreparable and grave harm

          19       in the absence of an injunction. As discussed above, Defendants have violated and—unless enjoined—

          20       will continue to violate the Named Children’s constitutional and statutory rights. “When an alleged

          21       deprivation of a constitutional right is involved, most courts hold that no further showing of irreparable

          22       injury is necessary.” Warsoldier v. Woodford, 418 F.3d 989, 1001-02 (9th Cir. 2005) (indicating that

          23       only “colorable claim” of constitutional violation is needed to establish irreparable harm at the

          24

          25       25
                      A.H. has two pending adjournments in contemplation of dismissal (“ACD”) in New York. Under
                   New York law, an ACD “shall not be deemed to be a conviction or an admission of guilt” and “[n]o
          26       person shall suffer any disability or forfeiture as a result of such an order.” N.Y. Crim. Proc. Law
                   §§ 170.55(8) (McKinney). After completion of the term of adjournment, “the arrest and prosecution
          27       shall be deemed a nullity.” Id; N.Y. Crim. Proc. Law § 170.56(4). An ACD is not a conviction for
                   immigration purposes. 8 U.S.C. § 1101(a)(48)(A) (“conviction” under immigration statute requires
          28       finding of guilt or admission of sufficient facts to support guilt).
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                                                                     40.
 SAN FRANCISCO                                                                                  CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 56 of 66



            1      preliminary injunction stage) (internal quotations and citation omitted); Melendres v. Arpaio, 695 F.3d

            2      990, 1002 (9th Cir. 2012) (“[T]he deprivation of constitutional rights ‘unquestionably constitutes

            3      irreparable injury’”) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

            4             The likely harm to the Named Children goes far beyond the violation of their legal rights, given

            5      that their interests in physical liberty and family unity are at stake. The “unnecessary deprivation of

            6      liberty clearly constitutes irreparable harm.” United States v. Bogle, 855 F.2d 707, 710-11 (11th Cir.

            7      1988) (citation omitted). As Plaintiffs’ expert psychiatric witness, Dr. Lisa Fortuna, explains, the

            8      separation of the Named Children from their families and their detention are likely to have a severe,

            9      irreversible impact on their wellbeing. Fortuna Dec. ¶¶ 9-13, 41. The longer that the Named Children

          10       remain in confinement, the more likely it becomes that their development will suffer. Id., ¶¶ 37-40.

          11       Their confinement also runs the risk of causing irreversible psychological injury, including post-

          12       traumatic stress disorder and suicidal inclinations, and exacerbating behavioral issues. Id., ¶¶ 14-31;

          13       see also White Dec. ¶¶ 3-4. The Named Children already report feeling anxious, sad and depressed.

          14       J.G. Dec. ¶¶ 22-25; A.H. Supp. Dec. ¶ 9; F.E. Dec. ¶ 18, 21; K.A. Dec. ¶ 30. Such harm cannot be

          15       remedied post-hoc. See Chalk v. U.S. Dist. Ct., 840 F.2d 701, 710 (9th Cir. 1988) (finding that

          16       “emotional and psychological . . . injury cannot be adequately compensated for by a monetary award

          17       after trial”); see also Corkery Dec., Ex. E (HHS), at 3729 (indicating

          18                                             ).26

          19              C.      The Equities Tip Sharply in Favor of the Requested Injunction
          20              When ruling on a preliminary injunction, “a court must balance the competing claims of injury

          21       and must consider the effect on each party of the granting or withholding of the requested relief.” Arc

          22       of Cal., 757 F.3d at 991 (quoting Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 542 (1987)).

          23       Plaintiffs seek an order that Defendants not violate the constitutional or statutory rights of the Named

          24       Children or the Proposed Class. Such an order would cause no injury to Defendants, since a

          25
                   26
          26          Defendants’ unsubstantiated allegations of gang affiliation have the potential to cause further
                   irreparable harm to J.G. and F.E. in the event they are eventually returned to El Salvador, their country
          27       of origin. The government there recently passed a law that requires that any Salvadoran deported from
                   the United States on the basis of allegations of gang affiliation be detained upon reentry into El
          28       Salvador. See Cruz Dec. ¶¶ 25-26.
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                                                                    41.
 SAN FRANCISCO                                                                                 CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 57 of 66



            1      government agency “cannot suffer harm from an injunction that merely ends an unlawful practice or

            2      reads a statute as required to avoid constitutional concerns.” Rodriguez v. Robbins, 715 F.3d 1127,

            3      1145 (9th Cir. 2013) (citation omitted).

            4             Moreover, the ongoing harms to the Named Children far outweigh any injury Defendants

            5      might claim to suffer. The Named Children have been separated from their families, locked in

            6      detention facilities and denied the opportunity to contest the alleged bases for their confinement. They

            7      are suffering mentally and emotionally, and their ongoing detention has the potential to cause them

            8      profound developmental harm. Fortuna Dec. ¶¶ 9-41. Conversely, the requested relief would require

            9      only that Defendants implement procedural safeguards to protect the constitutional and statutory rights

          10       of Sponsored UCs and release the Named Children.

          11              D.      The Requested Injunction Is in the Public Interest
          12              The Ninth Circuit has repeatedly held that “‘it is always in the public interest to prevent the

          13       violation of a party’s constitutional rights.’” Melendres, 695 F.3d at 1002 (quoting Sammartano v.

          14       First Judicial District Court, 303 F.3d 959 (9th Cir. 2002)). There is also a weighty public interest in

          15       “ensur[ing] that federal statutes are construed and implemented in a manner that avoids serious

          16       constitutional questions.” Rodriguez, 715 F.3d at 1146. This is all the more true here given that

          17       Plaintiffs simply ask for procedural protections for vulnerable Sponsored UCs before Defendants

          18       deprive them of fundamental liberty interests; their requested relief would not result in the automatic

          19       release of any class member. Accord id. at 1145.

          20       V.     THE COURT SHOULD PROVISIONALLY CERTIFY THE PROPOSED CLASS AND
                          ENJOIN DEFENDANTS’ UNLAWFUL POLICIES AND PRACTICES AS TO ALL
          21              CLASS MEMBERS
          22              Ninth Circuit “courts routinely grant provisional class certification for purposes of entering

          23       [preliminary] injunctive relief” under Rule 23(b)(2), where the plaintiff establishes that the four

          24       prerequisites in Rule 23(a) are also met. Carrillo v. Schneider Logistics, Inc., No. 11-cv-8557, 2012

          25       WL 556309, at *9 (C.D. Cal. Jan. 31, 2012) (citing Baharona-Gomez v. Reno, 167 F.3d 1228, 1233

          26       (9th Cir.1999)); see also Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036 (9th Cir. 2012)

          27       (finding district court did not abuse its discretion by provisionally certifying class for purpose of

          28       entering preliminary injunction). As demonstrated below, it is clear that Rule 23’s requirements are
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                                                                   42.
 SAN FRANCISCO                                                                                CASE NO. 3:17-CV-03615-VC
                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 58 of 66



            1      satisfied here. As a result, the Court should provisionally certify the following Proposed Class for

            2      purposes of the preliminary injunction sought by Plaintiffs:

            3             All unaccompanied immigrant children who had previously been detained in ORR custody and
                          released by ORR to a parent or other sponsor (“Sponsored UCs”), and who thereafter have
            4             been arrested or are now or in the future being considered for arrest by U.S. immigration
                          authorities on or after April 1, 2017 with allegations of gang affiliation and who have been
            5             detained or would, if arrested, be considered for detention in a secure or staff secure detention
                          center (“Secure Facility”) under the oversight authority of the San Francisco-based ORR
            6             Federal Field Specialist (“SF ORR”).27
            7             A.      The Proposed Class Meets the Requirements of Rule 23(a)(1)-(4)
            8                     1.      Numerosity
            9             Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is

          10       impracticable.” Fed. R. Civ. P. 23(a)(1). “There is no magic number” for determining when the

          11       numerosity requirement has been satisfied,” and “[c]ourts have certified classes with as few as thirteen

          12       members.” Hum v. Dericks, 162 F.R.D. 628, 634 (D. Haw. 1995). Where, as here, a plaintiff “seek[s]

          13       only injunctive and declaratory relief, the numerosity requirement is relaxed and plaintiffs may rely

          14       on [] reasonable inference[s] . . . that the number of unknown and future members . . . is sufficient to

          15       make joinder impracticable.” Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Trust, 317 F.R.D. 91,

          16       100 (N.D. Cal. 2016) (internal quotation marks omitted) (citing Sueoka v. United States, 101 Fed.

          17       Appx. 649, 653 (9th Cir. 2004)). Indeed, in injunctive relief-only cases, “[j]oinder in the class of

          18       persons who may be injured in the future has been held impracticable without regard to the number of

          19       persons already injured.” Smith v. Heckler, 595 F. Supp. 1173, 1186 (E.D. Cal. 1984).

          20              The Proposed Class is sufficiently numerous. Plaintiffs seek relief on behalf of all Sponsored

          21       UCs who “have been or will be” arrested by ICE with allegations of gang affiliation and are thereafter

          22       detained in a Secure Facility under the oversight of SF ORR. See Am. Pet., Dkt. 31, ¶ 104. No fewer

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                   27
                      District courts “are empowered to grant [class-wide] preliminary injunctions regardless of whether
          24       the class has been certified.” Brantley v. Maxwell-Jolly, 656 F. Supp. 2d 1161, 1178, n.4 (N.D. Cal.
                   2009) (internal quotation and citation omitted) (enjoining implementing of legislation that would
          25       reduce benefits to adults with disabilities, and extending injunction beyond named plaintiffs);
                   EasyRiders Freedom FIGHT v. Hannigan, 92 F.3d 1486, 1501-02 (9th Cir. 1996) (affirming order
          26       enjoining enforcement of unconstitutionally vague law statewide without class certification); Bresgal
                   v. Brock, 843 F.2d 1163, 1171 (9th Cir. 1987) (“Class-wide relief may be appropriate even in an
          27       individual action.”) (citations omitted). Regardless, Plaintiffs seek an order provisionally certifying
                   the Proposed Class to avoid any dispute as to the appropriate scope of the requested preliminary
          28       injunction, and because the requirements of Rule 23 are so plainly met.
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 59 of 66



            1      than seven Sponsored UCs, including the Named Children, were arrested by ICE and detained by ORR

            2      as a result of the policies and practices at issue here between June and August 2017, alone. See Corkery

            3      Dec., Ex. C (RFA Resp.), at No. 1; Corkery Dec., Ex. F (YOLO), at 759-61. An internal ORR memo

            4                                                                                                             .

            5      Corkery Dec., Ex. E (HHS), at 3731.

            6

            7

            8                          Id. While the precise number of Sponsored UCs who “will be,” at some future

            9      time, re-arrested and detained under similar circumstances is unknown, “general knowledge and

          10       common sense indicate that it is large.” Von Colln v. Cty. of Ventura, 189 F.R.D. 583, 590 (C.D. Cal.

          11       1999). According to data published by ORR, there are currently tens of thousands of Sponsored UCs

          12       living in the custody of a parent or other sponsor. Kang Dec. ¶¶ 4-5. As the Named Children’s

          13       experiences illustrate, any number of these Sponsored UCs are at risk of being arrested and transferred

          14       to a detention center within the oversight of SF ORR, regardless of where in the country they currently

          15       reside. See, e.g., J.G. Dec., ¶¶ 17-20. Indeed, in a July 28, 2013 speech later posted to the official

          16       website of the White House, President Donald J. Trump has specifically decried the fact that

          17       “unaccompanied alien minors [are] released all throughout our country into United States

          18       communities.” Corkery Dec., Ex. J (White House Press Release), at 9. Similarly, Defendant Sessions

          19       has publicly complained that “we need to be able to deport people rapidly who enter the country

          20       illegally, and we have to end this policy of taking unaccompanied minors . . . and turning them over

          21       to the Department of Health and Human Services, and then they take them to their ‘destination city’”

          22       Corkery Dec., Ex. K (Sessions Article), at 2; see also Corkery Dec., Ex. H (ICE Press Release), at 3

          23       (referring to “[t]welve individuals arrested during the operation crossed the border as unaccompanied

          24       minors,” including two with SIJ status).28

          25              Additional factors commonly considered by courts in the numerosity inquiry compel the

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          27       28
                     See also Corkery Dec., Ex. L (Reuters Article re: Immigration Raids), at 1 (reporting that ICE
                   planned to target 16 and 17-year old alleged gang members, based on, inter alia “frequenting an area
          28       notorious for gang and wearing gang apparel”).
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 SAN FRANCISCO                                                                                CASE NO. 3:17-CV-03615-VC
                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 60 of 66



            1      conclusion that class treatment is appropriate. These factors include: “(1) the judicial economy that

            2      will arise from avoiding multiple actions; (2) the geographic dispersion of members of the proposed

            3      class; (3) the financial resources of those members; (4) the ability of the members to file individual

            4      suits; and (5) requests for prospective relief that may have an effect on future class members.”

            5      McCluskey v. Tr. of Red Dot Corp. Emp. Stock Ownership Plan & Trust, 268 F.R.D. 670, 673 (W.D.

            6      Wash. 2010) (citation omitted). While each of these factors weighs sharply in favor of class

            7      certification, factors (3) and (4) are particularly pertinent. Plaintiffs seek relief on behalf of a Proposed

            8      Class of undocumented immigrant children, taken—in many cases without notice—from their

            9      parent(s) or other custodial sponsor and denied access to counsel. These children largely lack the

          10       knowledge, skills and resources needed to understand, let alone assert, their statutory and

          11       constitutional rights on their own. Mass Dec. ¶ 6. Moreover, ORR can and does transfer Sponsored

          12       UCs from one facility to another, complicating Proposed Class members’ ability to identify and secure

          13       legal representation and obstructing—intentionally or not—their ability to understand their legal rights

          14       and proceed individually. For example, shortly after counsel in this case visited him at Yolo, J.G. was

          15       transferred by ORR to a staff secure facility near Tacoma, Washington, hundreds of miles from his

          16       attorneys. J.G. Dec. ¶¶ 21-23; Mass Dec. ¶ 7. As a result, any doubt as to whether Rule 23(a)(1) is met

          17       should be resolved in favor of class treatment. See Rodriguez, 591 F.3d at 1123 (finding numerosity

          18       satisfied, in part, because of “the severe practical concerns that would likely attend [prospective

          19       immigrant class members] were they forced to proceed alone”).

          20                       2.      Commonality
          21               Rule 23(a)(2) requires the existence of “questions of law or fact common to the class.” “[N]ot

          22       every question of law or fact must be common to the class; ‘all that Rule 23(a)(2) requires is a single

          23       significant question of law or fact.’” Rodriguez v. Nike Retail Servs., Inc., No. 14-cv-1508, 2016 WL

          24       8729923, at *8-9 (N.D. Cal. Aug. 19, 2016) (quoting Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d 952,

          25       957 (9th Cir. 2013); see also Rodriguez, 591 F.3d at 1122 (“[T]he commonality requirements asks

          26       [sic] us to look only for some shared legal issue or a common core of facts.”).

          27               The standard is even more liberal in a civil rights suit seeking injunctive and declaratory relief,

          28       like this one, which “challenges a system-wide practice or policy that affects all of the putative class
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 61 of 66



            1      members.” Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001), overruled on other grounds by

            2      Johnson v. Cal., 543 U.S. 499, 504-05 (2005). Such suits “by their very nature often present common

            3      questions satisfying Rule 23(a)(2).” 7A Wright, Miller & Kane, Federal Practice & Procedure § 1763

            4      (3d ed. 2017); see also Rodriguez, 591 F.3d at 1122-25 (finding commonality satisfied in habeas class

            5      action involving challenges to prolonged immigration detention without bond hearing); Walters v.

            6      Reno, 145 F.3d 1032, 1045-46 (9th Cir. 1998) (finding commonality in case challenging notices of

            7      deportation proceedings).

            8             The claims brought by the Named Children on behalf of the Proposed Class raise a litany of

            9      common questions of both law and fact, including (by way of non-exhaustive illustration):

          10                     whether ICE can re-arrest a Sponsored UC based solely on removability;
                                 whether mere allegations of gang affiliation provide a reasonable basis for ICE to re-
          11                      arrest a Sponsored UC;
          12                     whether ORR takes any steps to corroborate information regarding the alleged gang
                                  affiliation of a Sponsored UC before placing the Sponsored UC in a Secure Facility, or
          13                      instead merely rubber stamps ICE’s recommendation and referral;
          14                     whether Sponsored UCs who are re-arrested based on allegations of gang affiliation are
                                  entitled to notice and an opportunity to be heard before a neutral decision maker
          15                      regarding the basis for their confinement; and
          16                     whether ORR’s placement of Sponsored UCs in Secure Facilities based on allegations
                                  of gang affiliation violates the TVPRA’s requirement that UCs be “placed in the least
          17                      restrictive setting that is in [their] best interests.”

          18       Any one of these common issues, standing alone, is enough to satisfy Rule 23(a)(2)’s permissive

          19       standard. Abdullah, 731 F.3d at 957; Perez-Olano v. Gonzalez, 248 F.R.D. 248, 257 (C.D. Cal. 2008)

          20       (“Courts have found that a single common issue of law or fact is sufficient.”) (citation omitted); see

          21       also Sweet v. Pfizer, 232 F.R.D. 360, 367 (C.D. Cal. 2005) (“there must only be one single issue

          22       common to the proposed class”) (quotation and citation omitted).

          23                      3.     Typicality
          24              Rule 23(a)(3) requires that the claims or defenses of the class representatives be typical of the

          25       claims or defenses of the class members. “Under the rule’s permissive standards, representative claims

          26       are ‘typical’ if they are reasonably co-extensive with those of absent class members; they need not be

          27       substantially identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). Typicality

          28       is satisfied “when each class member’s claim arises from the same course of events, and each class
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                        Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 62 of 66



            1      member makes similar legal arguments to prove the defendant’s liability.” Rodriguez, 591 F.3d at

            2      1124 (quoting Armstrong, 275 F.3d at 868). “The test of typicality is ‘whether other members have

            3      the same or similar injury, whether the action is based on conduct which is not unique to the named

            4      plaintiffs, and whether other class members have been injured by the same course of conduct.’”

            5      Parsons v. Ryan, 754 F.3d 657, 675 (9th Cir. 2014) (citation omitted).

            6              As discussed in Section III.C.1, supra, each of the Named Children were re-arrested by ICE

            7      after having previously been released to a sponsor and placed in a Secure Facility by ORR. In each

            8      case, the re-arrest and subsequent secure detention were based on allegations of gang affiliation. In

            9      accordance with Defendants’ policies and practices, none of the Named Children were provided with

          10       notice of the evidence on which these allegations were based or an opportunity to test such evidence.

          11       None of them have been released to their parents despite their families’ diligent participation in ORR’s

          12       reunification petition process. The claims of the Named Children are therefore typical of the claims

          13       belonging to members of the putative class, which is defined to include Sponsored UCs who have been

          14       or will be re-arrested and placed in a Secure Facility under substantively similar circumstances, in

          15       violation of the same statutory and constitutional rights on which the Named Children based their

          16       claims. See Section III.C, supra.

          17                       4.      Adequacy of Representation
          18               Rule 23(a)(4) requires that the “representative parties will fairly and adequately protect the

          19       interests of the class.” The adequacy inquiry asks: “(1) do the named plaintiffs and their counsel have

          20       any conflicts of interest with other class members and (2) will the named plaintiffs and their counsel

          21       prosecute the action vigorously on behalf of the class?” Hanlon, 150 F.3d at 1020. Both requirements

          22       are plainly satisfied here.

          23               In the six weeks since this litigation was filed, the Plaintiffs and their counsel29 have vigorously

          24       represented the interests of the Proposed Class, competently and without conflicts of interest. Among

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                      Counsel for the Named Parties are pro bono attorneys from the ACLU of Northern California, the
          26       ACLU Immigrants' Rights Project and the law firm of Cooley LLP. Collectively, Proposed Class counsel
                   have wide-ranging experience in immigration, habeas corpus, class action and other complex
          27       litigation. See Mass Dec. ¶¶ 4-5; Kang Dec. ¶¶ 9-20; Schenker Dec. ¶¶ 3-4. Each has an excellent
                   reputation in the community for advocacy in their respective areas, brings to bear considerable legal
          28       resources, and will energetically pursue the interests of the putative class.
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 63 of 66



            1      other things, the Plaintiffs and their counsel have successfully obtained expedited discovery from

            2      Defendants, and brought this Motion for the benefit of the Proposed Class. The Plaintiffs have met

            3      with their counsel repeatedly in furtherance of these objectives, and offered evidence in support of this

            4      Motion, at a pace befitting the gravity of the deprivations of liberty being suffered by the entire

            5      Proposed Class. There can be no doubt about the sincerity of the Plaintiffs or their counsel in

            6      prosecuting this action on behalf of the Proposed Class.

            7              B.      The Proposed Class Meets the Requirements of Rule 23(b)(2)
            8              In addition to satisfying the four prerequisites of Rule 23(a), the Proposed Class qualifies for

            9      class treatment under Rule 23(b)(2). Rule 23(b)(2) requires that Plaintiffs establish that “the party

          10       opposing the class has acted or refused to act on grounds that apply generally to the class, so that final

          11       injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.”

          12       Fed. R. Civ. P. 23(b)(2). “Rule [23](b)(2) was adopted in order to permit the prosecution of civil

          13       rights actions.” Walters, 145 F.3d at 1047. As a result, “‘[i]t is sufficient’ to meet the requirements

          14       of Rule 23(b)(2) [that] ‘class members complain of a pattern or practice that is generally applicable to

          15       the class as a whole.’” Rodriguez, 591 F.3d at 1125-26 (citation omitted) (finding that class of non-

          16       citizens detained during immigration proceedings met Rule 23(b)(2) criteria because “all class

          17       members [sought] the exact same relief as a matter of statutory or, in the alternative, constitutional

          18       right”). “Identification of all class members is not necessary under Rule 23(b)(2).” Perez-Olano, 248

          19       F.R.D. at 259. Rather, applying “[R]ule [23(b)(2)] is appropriate [where] plaintiffs bring a class action

          20       on behalf of a ‘shifting population.’” Id. (citation omitted). The class that Plaintiffs seek to certify is a

          21       quintessential Rule 23(b)(2) class.

          22               First, Defendants are acting on grounds that are generally applicable to the class because they

          23       subject all members of the Proposed Class to the same policies or practices. Discovery has shown that

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          26                                      . Corkery Dec., Ex. E (HHS), at 3731, 3549 (discussing June 15, 2017

          27       training on ORR’s “new policy” regarding secure placement), 3407 (discussing ORR’s secure policy

          28       update, including as to treatment of “gang affiliat[ed]” UCs); see also Corkery Dec. Ex. B, at 5:6-10,
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                       Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 64 of 66



            1      5:23-6:2 (testimony of ORR’s De La Cruz acknowledging a number of “secure referrals” from DHS

            2      in connection with the immigration “sweep of children”). Discovery has also revealed that

            3

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            5                                                                        Corkery Dec., Ex. E (HHS), at 3728-

            6      29. The similar experiences of the Named Children confirm that Defendants practices are generally

            7      applied to members of the Proposed Class. Each of the Named Children was transferred to the custody

            8      of ORR, who placed them in a secure facility based on the allegations of gang affiliation provided by

            9      DHS and without conducting any independent determination of whether the Named Children were, in

          10       fact, gang members as DHS alleged. And all three Named Children were subsequently stepped down

          11       to less secure facilities because ORR their placement in a secure facility was deemed unnecessary. It

          12       is therefore evident that this “action concerns a . . . policy applicable to the entire class that (if

          13       unlawful) subjects class members to unnecessary detention. The Rule’s requirements are satisfied.”

          14       Rivera v. Holder, 307 F. R.D. 539, 551 (W.D. Wash. 2015).

          15              Second, the injunctive relief requested by Plaintiffs is appropriate for the class as a whole. The

          16       class requests uniform relief in the form of an injunction: (1) prohibiting Defendants from future

          17       unlawful rearrests of Proposed Class members; (2) prohibiting Defendants from detaining and

          18       transferring Proposed Class members to secure or staff secure facilities based on gang allegations,

          19       without providing them adequate procedural safeguards—including immediate notice and prompt,

          20       adversarial hearings where the Government bears the burden of proof; and (3) ordering such hearings

          21       for any class members already in custody (other than the Named Children, who have already made a

          22       showing that they should be released).

          23              Because a single injunction would afford this relief as to all members of the Proposed Class,

          24       certification under Rule 23(b)(2) is appropriate. See Parsons, 754 F.3d at 689 (finding declaratory

          25       and injunctive relief proper as to class where “every [member] . . . is allegedly suffering the same (or

          26       at least a similar) injury and that injury can be alleviated for every class member by uniform changes

          27       in . . . policy and practice”); Rodriguez, 591 F.3d at 1126 (certifying Rule 23(b)(2) class of immigrant

          28       detainees where “relief from a single practice is requested by all class members”).
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                         Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 65 of 66



            1      VI.     CONCLUSION

            2              Plaintiffs respectfully request that the Court deny Defendants’ Motions to Dismiss and grant

            3      Plaintiffs’ Motion for Preliminary Injunction and Motion for Provisional Class Certification.

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                      Case 3:17-cv-03615-VC Document 61-1 Filed 09/25/17 Page 66 of 66



            1      Dated:    September 25, 2017       COOLEY LLP
                                                      MARTIN S. SCHENKER (109828)
            2                                         NATHANIEL R. COOPER (262098)
                                                      TREVOR M. KEMPNER (310853)
            3                                         ASHLEY KEMPER CORKERY (301380)

            4

            5                                          /s/ Martin S. Schenker
                                                      Martin S. Schenker
            6                                         Attorneys for Plaintiffs
            7

            8

            9      Dated:    September 25, 2017       AMERICAN CIVIL LIBERTIES UNION
                                                      FOUNDATION OF NORTHERN CALIFORNIA
          10
                                                      JULIA HARUMI MASS (189649)
          11                                          WILLIAM S. FREEMAN (82002)

          12

          13
                                                       /s/ Julia Harumi Mass
          14                                          Julia Harumi Mass
                                                      Attorneys for Plaintiffs
          15

          16

          17       Dated:    September 25, 2017       ACLU FOUNDATION
                                                      IMMIGRANTS’ RIGHTS PROJECT
          18                                          STEPHEN B. KANG (SBN 292280)
                                                      JUDY RABINOVITZ (pro hac vice)
          19

          20

          21                                           /s/ Stephen S. Kang
                                                      Stephen S. Kang
          22                                          Attorneys for Plaintiffs

          23

          24

          25

          26

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          28
  COOLEY LLP
                                                                             PLAINTIFFS’ CONSOLIDATED BRIEF
ATTORNEYS AT LAW
                                                        51.
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